Case 1:15-cv-02118-WJM-SKC Document 89-7 Filed 03/30/18 USDC Colorado Page 1 of 40




                                                   EXCERPTED




                           EXHIBIT 152
Case 1:15-cv-02118-WJM-SKC Document 89-7 Filed 03/30/18 USDC Colorado Page 2 of 40



    1                  IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO
    2

    3
           SECURITIES AND EXCHANGE              )
    4      COMMISSION,                          )
                                          )
    5                          Plaintiff, )
                                                )
    6                  vs.                      ) No. 1:15-cv-02118-WJM-CBS
                                       )
    7      TAJ JERRY MAHABUB, GENAUDIO,)
           INC., and ASTOUND HOLDINGS, )
    8      INC.,                       )
                                          )
    9                         Defendants. )
   10
   11                     DEPOSITION UPON ORAL EXAMINATION
   12                                    OF
   13                             VICTOR TISCARENO
   14
   15                           Martin Davis PLLC
                      1200 Westlake Avenue North, Suite 802
   16                       Seattle, Washington 98109
   17
   18
   19
   20
   21
   22
   23     DATE: December 16, 2016
   24          REPORTED BY: Olivia Pennella
   25                        Washington CCR 3337

                                                                    Page 1

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Case 1:15-cv-02118-WJM-SKC Document 89-7 Filed 03/30/18 USDC Colorado Page 3 of 40


        I         APPEARANCES                                              1          E X H I B I T S (Continued)
        2                                                                  2 No.     Description                  Page
             FOR PLAINTIFF:                                                3 Exhibit 91     Email Correspondence          92
        3                                                                         (SEC-TiscarenoV-E-000300-301)
        4
                  LESLIE H. HUGHES
                  DANIELLE R. VOORHEES
                                                                           4
                                                                              Exhibit 92   Email Correspondence           99
                  United States Securities and Exchange
                                                                           5       (SEC-TiscarenoV-E-000161 1-1612)
        5           Commission
                  1961 Sums Street, Suite 1700                             6 Exhibit 93    Demo With MH                  99
        6         Denver, Colorado 80294                                           (347APL-00000046)
                  303444-1086                                              7
        7         303-844-1108                                                Exhibit 94   Email Correspondence           111
                  HughesLJ@sec.gov                                         8       (SEC-TisearenoV-E-0000336-37)
         s        voorheesil@bengov                                        9 Exhibit 95    AstoundSound Demo               1I3
         9   FOR DEFENDANT TAJ JERRY MA HA HUB:                                    (347APL-00000047)
        to        ANDREW B. HOLMES                                        10
                  Holmes, Taylor & Jones LLP                                  Exhibit 96   GenAudio Demo (Astound)             114
       11         617 South Olive Street, Suite 1200                      11       (347APL-000000.51)
                  Los Angeles, California 90014                           12 Exhibit 97    Email Correspondence           117
       12        213-985-2200                                                      (SEC-Tiscaren0V-E-0000376)
                 abholmes@htflaw,com
                                                                          13
       13
                                                                              Exhibit 98   Email Correspondence           120
             FOR DEFENDANT GENAUDIO, INC.:
       14                                                                 14       (SEC-Tiscaren0V-E0001639)
                  DAVID J. AVEN1                                          15 Exhibit 99    Email Correspondence           I24
       15         Wilson Elser Moskowitz Edelman &                                 (SEC-TiscarenoV-E-0000400)
                    Dicker, LLP                                           16
       16         655 West Broadway, Suite 900                                Exhibit 100   Email Correspondence           126
                  San Diego, California 92101                             17       (SEC-TiscarenoV-E-0000412-414)
       17         619-321-6200                                            18 Exhibit 101    Email Correspondence           136
                  david.aveni@wilsonelser.com                                      (SEC-TiscarenoV-E-0000534)
       IR                                                                 19
             FOR WITNESS:                                                     Exhibit 102   Email Correspondence           138
       19                                                                 20       (SEC-TiscarenoV-E-0000556)
                  JOHN R. ELTRINGHAM                                      21 Exhibit 103    Email Correspondence           138
       20         Martin Davis PLLC
                                                                                   (SEC-TiscatenoV-E-0000557)
                  1200 Westlake Avenue North, Suite 802
       21         Seattle, Washington 98109                               22
                  206-650-6560                                                Exhibit 104   Email Correspondence           140
       22         jeliringham@mariindavislaw.com                          23       (SEC-TiscarenoV-E-0000581)
       23                                                                 24 Exhibit 105    Email Correspondence           141
       24                                                                          (SEC-TiscarenoV-E-0001731)
       25                                                                 25
                                                                 Page 2                                                                   Page 4

         I             EXAMINATION                                         1          E X H I B I T S (Continued)
        2 WITNESS              MR. AVENI MR. HOLMES MS. HUGHES             2 No.    Description                    Page
        3 VICTOR TISCARENO              8      280      307                3 Exhibit 106    Email Correspondence              148
                          340      329      343                                   (347A PL-00000526-527)
        4                                                                  4
        5                                                                    Exhibit 107    Email Correspondence              154
                                                                           5      (SEC-TiscarenoV-E-0000756-757)
        6               EXHIBITS
                                                                           6 Exhibit 108    Email Correspondence              157
        7 No.      Description                  Page
                                                                                  (SEC-TiscarenoV-E-0000770)
        8 Exhibit 79      Email Correspondence         46
                                                                           7
                (SEC-TiscarenoV-E-0001883-18114)
                                                                             Exhibit 109    Email Correspondence              159
        9                                                                  8      (SEC-TiscarenoV-E-0000946-954)
           Exhibit 30     Email Correspondence                             9 Exhibit 110    Email Correspondence              17B
       10       (SEC-TiscarenoV-E-0001875-1876)            48                     (SEC-TiscarenoV-E-0000984)
       11 Exhibit 81      Email Correspondence         53                 10
                (SEC-TiscarenoV-E-0001842-1843)                              Exhibit III    Email Correspondence              180
       12                                                                 II      (347APL-00000333-336)
           Exhibit 132    GenAudio lit-Person Meetings      55            12 Exhibit 112    Email Cotrespondence              182
       13                                                                         (SEC-TiscarenoV-E-0001560-1561)
           Exhibit 83     Email Correspondence         57                 13
       14       (SEC-TiscarenoV-E-0001840)                                   Exhibit 113    Email Correspondence              187
       15 Exhibit 84      Email Correspondence         62                 14      (SEC-TiscarcnoV-E-0001018-1020)
                (SEC-TiscarenoV-E-00011312-1815)                          15 Exhibit 114    Letter dated March 15, 2010        193
       16                                                                         (GA000140)
           Exhibit 85     Email Correspondence         68                 16
                (SEC-TiscarenoV-E-0000056-57)                                Exhibit 2     GenAudio, Inc., Confidential Private 202
       17
       18 Exhibit 86      Email Correspondence         71                 17      Placement Memorandum
                                                                                  (0A000487-540)
                (SEC-TiscarenoV-E-0000095-96)
                                                                          18
       19
                                                                             Exhibit 115    Email Correspondence              208
           Exhibit 87     Email Correspondence         75
                                                                          19      (SEC-TiscarenoV-E-0001052-1053)
       20       (SEC-TiscarenoV-E-0000101)                                20 Exhibit 116    Apple Organizational Chart         212
       21 Exhibit 88      Email Correspondence         8I                 21 Exhibit 117    Email Correspondence              214
                (SEC-TiscarenoV-E-0000161-164)                                    (SEC-TiscarenoV-E-0001114)
       22                                                                 22
           Exhibit 89     Email Correspondence         84                    Exhibit 118    Email Correspondence              217
       23       (SEC-TiscarenoV-E-0000249-250)                            23      (SEC-TiscarenoV-E-0001129-1130)
       24 Exhibit 90      Email Correspondence         813                24 Exhibit 119    Email Correspondence              223
                (SEC-TiscarenoV-E-00(10284)                                       (SEC-Tiscaren0V-E-0001187-1188)
       25                                                                 25
                                                                 Page 3                                                                   Page 5


                                                                                                                                 2 (Pages 2 - 5)
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Case 1:15-cv-02118-WJM-SKC Document 89-7 Filed 03/30/18 USDC Colorado Page 4 of 40


         1 case goes to trial or during a deposition.                  1 attorney or the attorneys for the SEC, about this case?
         2     A. 1 -- I mean, it -- it's basically covering           2      A. No,
         3 what I already was deposed for.                             3      Q. Okay. So, from approximately 2006 through
         4     Q. Okay. I see.                                         4 2011 --
         5     A. I mean, there's conversations -- all about           5      A. Okay.
         6 what was discussed.                                         6      Q. -- you were at Apple?
         7     Q. Just running through the chronology of your          7      A. Correct.
         8 discussions with GenAudio --                                8      Q. What was your title? Was it --
         9     A. Yeah, it's -- it's -- it -- there wasn't             9      A. At that time?
        10 anything beyond that --                                    10      Q. Yes.
        11     Q. Okay.                                               11      A. I can't remember what I was doing then.
        12     A. -- that I recall. I mean, that's — I would          12      Q. I believe you testified it was Senior
        13 have written notes.                                        13 Engineer, Audio and Acoustics. Does that sound about
        14     Q. Is that when they gave you the 50 to 100            14 right?
        15 documents, or is that later?                               15      A. That sounds about right.
        16     A. No, I received those later. Probably -- as a        16      Q. Okay. And I don't want to rehash everything
        17 matter of fact, it was that I -- I didn't -- I             17 you've already testified about.
        18 couldn't receive them because of the size, And so we       18      A. Mm-hmm.
        19 had to go through some logistics on that. But I would      19      Q. We're not going to do that. But if you can
        20 say it was probably three weeks ago.                       20 just very quickly -- when did you start working at
        21     Q. Okay. Any other communications you've had           21 Apple?
        22 with Ms. Hughes or Ms. Voorhees?                           22      A, I started February 9, 2004.
        23      A. Not directly.                                      23      Q. I'm impressed that you remember the exact
        24     Q. Indirectly?                                         24 date. Did you have a different title when you first
        25         Again, I don't want any communications you've      25 joined Apple --
                                                              Page 18                                                         Page 20

         1 had with your attorney.                                        1      A. Yes.
         2       A. It was indirectly.                                    2      Q. -- as compared to 2006?
         3       Q. Okay. Through whom?                                   3         What was your title in 2004 when you started?
         4       A. Through my attorney, Mr. Eltringham.                  4      A. Well, I was -- I was working on a secret
         5          MR. AVENI: Do you mind if we close the                5 project. But I was a senior manager and -- and -- and
         6 shades?                                                        6 so was -- my -- my title was cryptic -- special
         7          THE WITNESS: It was done on purpose.                  7 projects.
         8          MR. AVENI: Let's go off the record.                   8      Q. At that time, were your responsibilities
         9          (Discussion held off the record.)                     9 focused solely on that secret project?
        10       Q. (By Mr. Aveni) Okay. So was there anything           10      A. Yes.
        11 else that you did, other than what you've already             11      Q. Okay. When did your responsibilities change?
        12 mentioned, to prepare for your testimony today?               12      A. Responsibilities changed when iPod changed --
        13       A. No. I -- I -- you know, with all respect,            13 it created a new division for -- specifically for the
        14 I -- I did what I needed to do to prepare today so that       14 iPod.
        15 I would be consistent with my answers; that I would           15      Q. Okay. And so you were transferred to -- were
        16 recall your questions -- answer your questions a bit          16 you transferred into that division?
        17 better. That's all.                                           17      A. Yes.
        18       Q. Have you reviewed the complaint that the SEC         18      Q. What's the name of that division?
        19 has filed in this case?                                       19      A. IPod division.
        20       A. Two years ago. No, it's not -- no, I've --           20      Q. IPod division, Direct and to the point.
        21 no,                                                           21         At some point, your responsibilities also
        22       Q. Okay. And did you review the testimony from          22 related to other similar products -- Apple products --
        23 any other witnesses in the case?                              23 is that right?
        24       A. No.                                                  24      A. That's correct.
        25       Q. Have you met with anybody, other than your           25      Q. iPad, for example. So, at that time did the
                                                               Page 19                                                        Page 21

                                                                                                                6 (Pages 18 - 21)
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Case 1:15-cv-02118-WJM-SKC Document 89-7 Filed 03/30/18 USDC Colorado Page 5 of 40


        1 name of the division change?                                      1 mean, you know, sometimes you need audio amplifiers.
        2      A. Hmm. I don't know. There was a -- my manager              2 Sometimes you need acoustic drivers, devices, speakers.
        3 was the manager for the division. And then there was              3 So, there's a lot of components to building something.
        4 a -- a departure because he -- the guy I was working              4 So, it -- it, you know -- and you have -- there's lots
        5 for, before the division, was getting ready to retire.            5 of divisions and lots of responsibilities.
        6 My peer who started the iPod grandfathered the                    6          There's safety, reliability, packaging. And
        7 iPod -- he became senior manager.                                 7 all those people come in at some point in the -- to
        8      Q. What was his name?                                        8 build this product. The engineering part might be --
        9      A. Tony Faddell. Anthony Faddell.                            9 but to build the product, you have the investigation
       10      Q. Okay.                                                    10 phase,
       11      A. F-A-D-D-E-L-L, I think.                                  11          They may say, "Here's a competitive product.
       12      Q. Okay. During the time frame 2007 to 2011,                12 We kind of want to do something like that" -- which
       13 what were the -- at a high level -- what were the Apple          13 is -- I'm pointing to the iPhone "but we want to do
       14 products that were being handled by that division?               14 something like that. And -- but we want to do it this
       15      A. Only iPod. Secret projects that had to do                15 way. Go figure it out and come back and let me know."
       16 with i-devices, including phone.                                 16      Q. During the 2009-2010 time frame, what was your
       17      Q. Okay.                                                    17 reporting chain up to the top of the company?
       18      A. Now known as the iPhone,                                 18      A. At that time, I was working -- well, Tony
       19      Q. And does it also include the iPad?                       19 Faddell left the company. He was a senior vice
       20      A. The iPad — it did. Now, there's -- it's a                20 president of iPod. I worked for Jesse Dorogusker, and
       21 large company.                                                   21 he reported directly to Tony Faddell. We had a power
       22      Q. Right.                                                   22 vacuum when Tony left,
       23      A. Some cross-functionality. But the iPad was               23      Q. When did he leave?
       24 actually -- came in late -- I think that was 2009, '10.          24      A. I'd have to look it up, but 2009, 2010.
       25 IPod has been around since 2001. So they may have, 1             25      Q. Okay.
                                                                 Page 22                                                             Page 24

        1 think, some responsibilities for -- depending on what             1      A. I'm going to say, 2009, Semi-retired. And we
        2 intel were shared.                                                2 had a power vacuum. They hired somebody else and,
        3      Q. Okay. So from 2007 to 2011, what were your                3 unfortunately, got into a lawsuit with IBM. Mark
        4 responsibilities within?                                          4 Papermaster -- after -- after they settled that --
        5      A. I'm sorry, what's the beginning date?                     5 competitive issues -- he finally came to work for -- for
        6      Q. 2007. Beginning of 2007 through 2011, what                6 the iPod division, to replace Tony -- Tony's leadership,
        7 were your responsibilities?                                       7         And, unfortunately, Mark Papermaster didn't
        8      A. Acoustics and audio, I'll just say it that                8 last very long. So, you know, it was -- it was
        9 way -- general, broad. I mean, it's just all kinds of             9 basically on automatic pilot. Everybody knew what they
       10 things.                                                          10 were doing. it was just -- there was this power vacuum.
       11      Q. Is there any way to characterize the kinds of            11      Q. And for whoever was in that position --
       12 things you did? Was it literally your manager telling            12 whether it was Mark or Tony or somebody else -- who did
       13 you, "Go do this next"?                                          13 that person report to?
       I4         That's a very general question. I'm trying to            14      A. Senior VPs report -- reported to the CEO.
       15 figure out -- can you characterize -- can you put into           15      Q. And at the time it was Steve Jobs?
       16 buckets the different kinds of things you did within             16      A. At the time it was probably Steve Jobs.
       17 acoustics and audio?                                             17      Q. Okay. So, let's start talking a little
       18      A. Well, we sourced components. I mean, you                 18 specifically about GenAudio for a minute.
       19 start off with a concept. Somebody comes in with a               19         During the entire time you were at Apple --
       20 concept -- whether the concepts developed in our area            20      A. Mm-hymn, yes.
       21 and somehow migrates its way up or it comes down our             21      Q. -- how many times approximately would you say
       22 way -- and this is what -- we're taken into a room and           22 you met in person with GenAudio to discuss GenAudio's
       23 guess what we're going to do now.                                23 technology?
       24         Then you huddle with the team, and you figure            24      A. Eight to twelve times.
       25 out who's best to take care of this, And you go off. I           25      Q. Okay. And how often would you say you spoke
                                                                Page 23                                                            Page 25

                                                                                                                     7 (Pages 22 - 25)
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Case 1:15-cv-02118-WJM-SKC Document 89-7 Filed 03/30/18 USDC Colorado Page 6 of 40



         1 to Jerry Mahabub by telephone during that time frame?             1 you or Apple produced to us.
         2      A. I'm going to just average it -- once a week.              2       A. Okay.
         3      Q. Now, were there some times when you spoke                 3       Q. You know, I'm only asking for your best
         4 multiple times by phone a week?                                   4 estimate and for what you remember, But if I said it
         5      A. Yes --                                                    5 could be -- you know, if you counted every email in an
         6      Q. Before big milestones, for example, or things             6 exchange -- it could be 100 or maybe even 1,000, does
         7 like that?                                                        7 that sound possible to you?
         8      A. I mean, I didn't call him out of the --                   8       A. It's possible. But when I write an email,
         9 just--just to chitchat. It was specific to the                    9 it's about a paragraph long -- good or bad grammar. But
        10 project. So, that's why I averaged it. I, you know --            10 it's bullet points. When I got a letter from him, it
        11 it might have been five calls in one day, and none for           11 was -- it was pages, paragraphs. So I'm not surprised
        12 three weeks. I -- I don't remember that -- that kind of          12 that you filled a binder.
        13 detail. But I -- yes, I communicate with him by phone,           13       Q, Fair enough.
        14      Q. Fair enough. And I certainly understand.                 14       A, I -- I -- look, I didn't spend time --
        15      A. Yeah.                                                    15       Q, Yeah.
        16      Q. We're going back ten years as well. As                   16       A. -- going back and forth with him a lot. It
        17 lawyers, that's something that happens all the time to           17 was, "Can you make a meeting? This is what we need to
        18 us. But I realize for witnesses that can be                      18 do." And I want you to understand that, quite often,
        19 frustrating.                                                     19 there were very leading proposals in the emails that at
        20      A. I wish I had a photographic memory.                      20 that time I just glossed over.
        21      Q. We fully realize this is quite a long time               21          You know, I ran down to the bottom --
        22 ago, and I don't mean to test your memory. These                 22 what's -- what's -- what are we doing here -- and -- and
        23 details can be important, so I apologize for the many            23 just moved on, you know. I don't know if the word
        24 details I'm going to ask.                                        24 "superfluous" works in that in his emails, but
        25         So how many times again, approximately, would            25 there's a lot of content there.
                                                                Page 26                                                             Page 28

         1 you say you emailed with Jerry Mahabub or anybody else            1     Q. He was a very enthusiastic individual.
         2 at GenAudio during your time at Apple?                            2     A, He was -- he has -- he has a big personality.
         3         MS. HUGHES: Objection. Can you break that                 3     Q. And is it fair to say that he is very
         4 into two questions -- who else at GenAudio he emailed             4 optimistic about his --
         5 with. Let's focus first on Mr. Mahabub, and then on               5     A, Yes,
         6 anyone else.                                                      6     Q. -- technology, about AstoundSound?
         7         MR, AVENI: I don't think that's an objection,             7     A. He was,
         8 but I'm happy to do it that way.                                  8     Q. And he worked hard to share that optimism with
         9     A, So, your question is --                                    9 you and others at Apple, right?
        10     Q, (By Mr. Aveni) So, how many times would you               10     A. Oh, yeah. It's -- look, I -- I really thought
        11 say you emailed with Jerry Mahabub?                              11 that the software itself was something to look at, you
        12      A, I -- I'm going to just say, 100. I -- I don't            12 know. All the other stuff that we're talking about
        13 know. I don't -- I don't remember.                               13 here -- as far as the emails, I mean, that was just
        14      Q. And that's fair enough.                                  14 some -- I try to stay to business.
        15      A. I mean, I -- I would say I responded to his              15     Q. And I understand —
        16 emails generally,                                                16     A. Focused on.
        17      Q. Right, So,         represent to you I have a             17     Q. And I understand your comment about the length
        18 binder over here --                                              18 of some of his entails. And I'm really, by the way, just
        19      A. Okay.                                                    19 trying to focus on the sheer number of emails, just to
        20      Q. -- that's full -- it's almost the entire                 20 get a sense of the extent of the dialog.
        21 emails between you and him. That has almost 200 in it,           21         And so, you know, when I show you a binder,
        22      A. Okay.                                                    22 I'm not trying to talk about the length of his emails.
        23      Q. And I'd say --                                           23 I'm just trying to say it seemed -- from where I sit --
        24      A. Factor of 50.                                            24 that there were hundreds upon hundreds, if not over a
        25      Q.     this is only a. portion of the emails that           25 thousand, exchanges. And I just want to know if you
                                                                  Page 27                                                             Page 29

                                                                                                                      8 (Pages 26 - 29)
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Case 1:15-cv-02118-WJM-SKC Document 89-7 Filed 03/30/18 USDC Colorado Page 7 of 40


        I think that's fair.                                              1         And we give them all the respect that, you
        2      A. That's fair.                                            2 know -- doesn't matter whether they're a Fortune 500
        3      Q. And I'm not telling you I've counted every one          3 company. We had people walk in with a -- I'm not
        4 of them. I haven't. Have you ever had discussions --            4 kidding -- a garage operation, one person working out of
        5         So, in your role in the iPod division --                5 their house. Brings it in. And I jokingly say that
        6      A. Uh-huh.                                                 6 there's a Chiquita banana sticker on the box, And
        7      Q. -- you would at times have discussions with             7 you -- you see what they have. You never know when
        8 other vendors, other than GenAudio, who were trying to          8 somebody really has something.
        9 sell you something?                                             9         And so we sit and listen to the demo or their
       10      A. Come -- I think -- come back with the question         10 spiel. It's -- it's -- it's what you would think --
       11 again, I'm sorry.                                              11 know I'm answering the question, but it's what anyone
       12      Q. Sure.                                                  12 would think would happen when somebody walks in the
       13      A. I was processing.                                      13 door. You listen to what they have to sell.
       14      Q. There arc other times when outside vendors,            14      Q. So, what happens from there? What are the
       15 like GenAudio, would come to you and would want to talk        15 different stages of evaluation -- again, at a high
       16 to you about their technology?                                 16 level that it goes all the way through to a possible
       17      A. Yes, there were other vendors that were --             17 deal with them?
       18 that not only sold components, but actually competitors        18     A. It depends. If we have a project and we have
       19 to GenAudio,                                                   19 a need, then we're going to engage at a different level.
       20      Q. Okay. And they would meet with you because, I          20 And if it's an abstract -- I don't know if that's a
       21 mean, they're hoping to sell Apple on a component or a         21 right word to use here -- but if it's coining in -- you
       22 technology for use in Apple products, right?                   22 got this -- I mean, what -- what can I hold -- I'm
       23      A. Sure. Correct.                                         23 holding a business card here.
       24      Q. What was the typical process for evaluation of         24         But what can we build out of this? I'll have
       25 an outside vendor's product? Could you walk me through         25 to use my imagination. They walk in. I generate a
                                                              Page 30                                                          Page 32

        1 what that vetting process is like? At a high level,             1 concept. Maybe it's origami. I can fold this card into
        2 what are the stages?                                            2 something. I, you know -- in the case of a software
        3     A. Sure. Well, I think there's two, One is, we              3 company, do we have a need for that, you know, how does
        4 have a need. We made the call out. Or they come in and          4 it fit into our program. Is it a coincidence that we
        5 make a cold call, so --                                         5 need something at that very moment --
        6     Q. In GenAudio's case, it was a cold call?                  6           Oh, if you walked in and you're -- you're here
        7     A. That's correct.                                          7 at the right time and, look, it's -- it fits into our
        8     Q. Okay. So, let's talk about cold calls for a              8 program, you know, Those things -- I don't know what
        9 second, Say, somebody comes in. They make a cold call           9 the chances are, but probably pretty small. So, you
       10 to you. Can you just walk me through the stages of the         10 know, with a cold call, it's a cold call. It's --
       11 process from, you know, your initial meeting all the way       11       Q. So, let's say there's a software company.
       12 through an eventual transaction with that company?             12 They cold-call you. You do an initial meeting with
       13         What are the different stages along the way?           13 them. You like what you see. Maybe there's a need for
       14     A. Well, if -- we generally would not get a phone          14 it. You go into a demo stage with them, where they're
       15 call. Phone calls usually are well-filtered. And, you          15 demoing the product for you.
       16 know, you don't get -- unless somebody passes on your          16           Is that fair to say, is that what happens?
       17 number. It came in as an email. And they do the sales          17       A. I -- I'm -- I don't know, because you've asked
       18 through an email -- you know, try to engage -- "Hey, I         18 a couple of different times, different ways.
       19 got something to show you."                                    19       Q. Right.
       20         Maybe it's somebody I already know that's got          20       A. And maybe I need to -- to go through the steps
       21 something new to show me, okay. "Can we set up a               21 carefully here, to educate on what we do, so --
       22 meeting?" "Okay, sure. How much time do you need?              22       Q. Yeah, by all means.
       23 Half an hour is usually as much as we can afford. Do           23.      A. You have basically four major groups here.
       24 you really need an hour?" -- might be the question going       24 One is the -- three of them are engineering stages. And
       25 back, and --                                                   25 the -- the one at the front end of this thing is called
                                                               Page 31                                                         Page 33

                                                                                                                 9 (Pages 30 - 33)
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Case 1:15-cv-02118-WJM-SKC Document 89-7 Filed 03/30/18 USDC Colorado Page 8 of 40


        1 brought in a full corporate presentation slide stack.         1 Exhibit-80, please.
        2     Q. Okay. Well, let's run through the chronology           2          (Exhibit-80 marked for identification.)
        3 with the documents --                                         3          MS. HUGHES: Thanks.
        4     A. Okay.                                                  4          MR. AVENI: Sure.
        5     Q. -- so we understand the time frame --                  5       Q. (By Mr. Aveni) Do you recognize this
        6     A. Yeah.                                                  6 document?
        7     Q. -- as you were describing.                             7       A. What would you like to know?
        8     A. Sure.                                                  8       Q. I'm going to show you a lot of documents.
        9        MR. AVENI: Let's mark this as Exhibit-79,              9 I'll show you generally the things I want to ask you
       10 please.                                                      10 about.
       11        (Exhibit-79 marked for identification.)               11       A. Mm-hmm.
       12        MS. HUGHES: Can we take a short break?                12       Q. Obviously, you're welcome to look over each
       13        MR. AVENI: Absolutely.                                13 document to make sure you recall it and you understand
       14        (Recess taken from 9:52 a.m. to 9:56 a.m.)            14 its contents. But I'm going to generally show you the
       15        MR. AVENI: So, does everybody have a copy?            15 things --
       16        THE WITNESS: Of this?                                 16       A. Yeah.
       17        MS. HUGHES: Yes.                                      17       Q. -- the emails that I'm talking about.
       18        MR. AVENI:          sorry. Let's go off the           18          Do you remember -- do you recall this
       19 record.                                                      19 document?
       20        (Discussion held off the record.)                     20       A. Only because it's more recent, but not from --
       21     Q. (By Mr. Aveni) Okay. So, you've been handed           21   I mean,   I'm -- yeah. It's not anything unusual. I --
       22 Exhibit-79, which is an email chain dated December 27 --     22       Q. Okay. So this is an email dated January 21,
       23     A. Mrn-hmm.                                              23 2007, shortly after the previous --
       24     Q. -- 2006. Is this the first email contact that         24       A. Right.
       25 you mentioned from -- with regard to GenAudio?               25       Q. -- Exhibit-79. So it's an email from Jerry
                                                            Page 46                                                          Page 48

        1      A. Yes.                                                  1 Mahabub to you, discussing an upcoming presentation to
        2      Q. Okay.                                                 2 you on Apple, right?
        3      A. Yeah,                                                 3      A, Mm-hmm, yes.
        4      Q. And I think that this was mentioned to you,           4      Q. Do you recall the purpose of that
        5 when you testified previously in this case, just so           5 presentation?
        6 we're on the same page. You'll sec on the lower               6      A. It's -- it -- it's one step removed from a
        7 right-hand corner, there's what we call a Bates stamp.        7 cold call.
        8 It says SEC-TiscarenoV-E --                                   8      Q. How often would you say vendors reach out to
        9      A. Mm-hrnm.                                              9 you with a cold call?
       10      Q. -- and a number. You'll see that throughout          10      A. I'll say, frequently.
       11 the day. That indicates that that's a document that you      I1      Q. Okay. And how many of them would you say make
       12 produced to the SEC --                                       12 it to the point of getting to make a presentation?
       13      A. Okay.                                                13      A. I would say, 90 percent, just if I said 100
       14      Q. — in the underlying investigation,                   14 percent, I don't think that'd be accurate.
       15      A. Sure.                                                15      Q. Okay. Fair enough. Okay. That's fine,
       16      Q. At times, you'll see one that says APL rather        16          So this email sets out six different items
       17 than Tiscareno, I believe that reflects -- again, those      17 that Jerry was hoping to present to you, right?
       18 are numbers the SEC puts on there to reflect documents       18      A. Yeah.
       19 Apple produced to the SEC.                                   19      Q. Okay.
       20      A. Right.                                               20      A. Yes.
       21         MR, AVENI: If you have any questions at any          21      Q. I want to point you to the last one real
       22 time about the source of a document, feel free to ask        22 fast No. 6, Licensing and/or Partnership Agreement.
       23 me. But I want to make that clear. This is one of your       23          So, Jerry wanted to discuss a possible
       24 documents. Okay.                                             24 licensing or partnership agreement with Apple for
       25         So, let me mark this next one here as                25 incorporating GenAudio's technology to Apple products,
                                                             Page 47                                                         Page 49

                                                                                                             13 (Pages 46 - 49)
                                                    Veritext Legal Solutions
                                                         866 299-5127
Case 1:15-cv-02118-WJM-SKC Document 89-7 Filed 03/30/18 USDC Colorado Page 9 of 40



         1 right?                                                                Q. Okay. Fair enough.
         2      A. Mm-hmm.                                                 2     A. I try to be respectful to vendors,
         3      Q. That's one of the things he wanted to present           3     Q. You testified before, you know, that you met
         4 to you?                                                         4 with Jerry maybe eight or twelve times. You've
         5      A. I -- I didn't -- we weren't -- I -- I assume            5 exchanged hundreds, maybe more, emails with him; you
         6 so. It was a slide presentation, as I recall,                   6 know, at least weekly phone calls.
         7      Q. Yeah,                                                   7         Is there -- can you say what percentage of
         8      A. Slide stack, a set of headphones, some videos,          8 vendors get to that stage, that level of communication
         9 a little bit of audio. I mean, it was -- it was just            9 with you?
        10 another vendor coming through the door. Thank you very         10     A. I don't have an answer for that one,
        11 much for coming,                                               11     Q. Is it fair to say that it is a small
        12      Q. Fair enough.                                           12 percentage?
        13      A. Okay.                                                  13         MS. 'HUGHES; Objection, Relevance.
        14      Q. Is it fair to say that when vendors come in            14         MR. ELTRINGHAM; Go off the record?
        15 and make these cold calls and then make presentations --       15         MR. /WENT; Just answer the question, and then
        16 and the ones lucky enough to continue to have                  16 we'll go off the record.
        17 discussions with you — their ultimate goal is to reach         17         (Mr. Holmes entered the room.)
        18 a licensing agreement or a partnership agreement with          18     A, I'd be guessing. I really don't know.
        19 Apple, right? That's their ultimate goal?                      19     Q. (By Mr. Aveni) Okay.
        20         MS. HUGHES: Objection, Calls for                       20     A. I don't know how to answer your question,
        21 speculation.                                                   21 honestly.
        22      Q. (By Mr. Aveni) As you understand it, that's            22     Q. I guess, I'm just trying to -- I mean, I
        23 their goal, right?                                             23 assume that most vendors that come in the door -- you
        24      A. They're they're trying to sell us                      24 said a lot of vendors come in the door, I'm assuming
        25 something.                                                     25 most of them don't get to that point, where they get to
                                                                Page 50                                                           Page 52

         1      Q. Right.                                                  I have that many communications over a period of years?
         2      A. So I would say, yes, that's the object of               2     A. I don't recall any cold-call vendors that --
         3 their cold call.                                                3 well, yeah, I don't have any cold-call vendors. He was
         4      Q. Okay. Fair enough. Do you recall if you                 4 one of the few --
         5 responded to Jerry's email?                                     5     Q. Okay.
         6      A. I don't remember.                                       6     A. -- that took -- that went just a little bit
         7      Q. And again --                                            7 further along,
         8      A. 1 don't.                                                8         MR. AVENI: Okay. Thank you. Let's go off
         9      Q. -- I won't keep apologizing for this, but I             9 the record.
        10 realize this is a very long time ago. I appreciate             10         (Recess taken from 10:04 a.m. to 10:12 a.m.)
        11 that.                                                          1t         MR. AVENI: I was about to mark Exhibit-81.
        12         Do you know --                                         12         (Exhibit-8I marked for identification.)
        13      A. Well, you could see -- just even here -- this          13      Q. (By Mr. Aveni) You've been handed Exhibit-81,
        14 is a significant bit of information,                           14 which -- and just so you know, we're going to run today
        15      Q. You mean, in his email?                                15 through a variety of documents, a variety of emails, in
        16      A. In his email, yeah. I would just -- what do            16 rough chronological order. 1 mean, just to be fair, I'm
        17 we do -- I mean, "Okay. Bring in your demo, and we'll          17 not showing you every email just because -- obviously,
        18 talk about it then." I mean, you know, he drops some           18 because of the time pressures, I don't have the time to
        19 names in here. "I'm -- I'm not going to bore you, Tony,        19 do that. So, I'm just trying to show you --
        20 and/or Steve, question mark, with a keynote or                 20      A. Mm-hrnm.
        21 PowerPoint presentation. You most likely see those 100         21      Q. -- some significant things along the way.
        22 times a day."                                                  22 don't want you to think I'm showing you every email.
        23         I -- I mean, it's just I -- I would gloss              23 I'm not even close to doing that.
        24 over stuff like that. I'd just say, "Okay. When can we         24      A. Okay.
        25 meet?" Okay. He will tell me about it then.                    25      Q. So, Exhibit-81 is an email from Jerry
                                                                Page 51                                                           Page 53

                                                                                                                 14 (Pages 50 - 53)
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Case 1:15-cv-02118-WJM-SKC Document 89-7 Filed 03/30/18 USDC Colorado Page 10 of
                                      40


        1 regarding a meeting he had with you that day,                        1 would gloss over. You know, I'd -- okay.
        2 February 14, 2007. And you see the first line says, "I               2      Q. So --
        3 just wanted to thank you very much for having lunch and              3     A. Yeah.
        4 meeting with me earlier today,"                                      4         MR. AVENI: And if this is helpful -- let's
        5         So, first, do --                                             5 mark this as an exhibit as well. I just want to kind'of
        6      A. Mm-limn.                                                     6 run -- we're just going to -- I just think it'd be
        7      Q. -- you recognize this email as one of your                   7 convenient and easy to keep track of the meetings that
        8 emails?                                                              8 you went through with him.
        9      A. Since I -- I don't see anything here unusual.                9         (Exhibit-82 marked for identification.)
       10      Q. So, you see the first line there: "I just                   10         MR. AVENI; Thank you.
       11 wanted to thank you very much for having lunch and                  11      Q. (By Mr. Aveni) So what I've marked as
       12 meeting with me earlier today."                                     12 Exhibit-82, for the record, is just a piece of paper
       13         Is that the first meeting you think you had                 13 that I marked, "GenAudio In-Person Meetings." And I
       14 with Jerry Mahabub in person?                                       14 wrote, number one -- and I'm not trying to represent
       15      A. I'm not sure,                                               15 that these arc the only meetings.
       16      Q. You're not sure. Okay. Do you recall that                   16         I'm not trying to represent anything other
       17 meeting, from this email?                                           17 than, as we run through these, these are the ones
       18      A. I -- there was a meeting -- and I don't know                18 that from the emails appear to have taken place. Is
       19 what date it was -- where we had kind of an introductory            19 that fair?
       20 meeting -- laptop, headphones. He brought a developer,              20      A. Yes.
       21 Walter Horat, who I later -- later got to know. And he              21      Q. Okay. So, then you see -- if you look at the
       22 brought him and told me everything about the fact that              22 bottom of this email, it said: "Everything will come
       23 he worked for Apple. And I don't know if that was to                23 into focus at the upcoming presentation on March 1,
       24 impress me or what.                                                 24 2007."
       25         But, you know, he said, "Hey, he used to work               25         And throughout this email he talks about
                                                                Page 54                                                               Page 56

         1 here. He's one of my developers." I said, "Okay.                    1 meeting with you about what his presentation would be;
         2 Cool." So, I don't know if -- if it was this meeting                2 is that fair?
         3 or -- 1 just recall, you know, we had we had two                    3      A. Yes. That might be the one I referred to with
         4 meetings. One was at -- one was in the main hall, with              4 the slide deck.
         5 a laptop. And then we had a follow-up meeting.                      5         MR. AVENI: Right. Okay. You can put that
         6         I'm pretty sure it went kind of in that                     6 one aside. Okay.
         7 order -- where we went into our building, in a public               7         Let's mark this as Exhibit-83.
         8 meeting room, and got a slide presentation. We got a                8         (Exhibit-83 marked for identification.)
         9 video and some headphones to wear while we were watching            9      Q. (By Mr. Aveni) So, this is another email --
        10 his video,                                                         10 the Bates stamp indicates it was produced by you. It's
        11      Q, Okay. What I'd like to do is just kind of                  11 an email from Jerry to you.
        12 keep track, on this piece of paper (indicating                     12         Is it okay with you if 1 referred to Jerry
        13 Exhibit-82), whenever the entails showed you guys had an           13 Mahabub sometimes as Jerry?
        14 in-person meeting. I just think that would be helpful              14      A. That's fine,
        15 to do. !understand --                                              15      Q. Sometimes, I'll call him Jerry Mahabub;
        16      A. Yeah.                                                      16 sometimes, I'll call him Mr. Mahabub. But if I say
        17      Q.     given the passage of time, you may not                 17 "Jerry," you'll know what I'm talking about, right?
        18 remember the date of each meeting. But if, you know --             18      A. I prefer JM. If -- it doesn't matter.
        19         You don't have any reason to think this                    19      Q. I want the record to be clear. I'll try to
        20 meeting didn't occur, as reflected in this email, right?           20 use --
        21      A. Well, yeah, you know, without going and                    21      A. Okay.
        22 checking anything that I have or Apple has -- you know,            22      Q. -- Jerry Mahabub --
        23 I don't see anything objectionable on it. I mean,                  23      A. Okay.
        24 there's a lot — there's some name-dropping in here, of             24      Q. -- and may slip into Jerry at times --
        25 course -- Tony Faddell, Eddie Cues. But that's stuff I             25      A. That's okay. I -- I -- okay.
                                                                    Page 55                                                          Page 57

                                                                                                                     15 (Pages 54 - 57)
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Case 1:15-cv-02118-WJM-SKC Document 89-7 Filed 03/30/18 USDC Colorado Page 11 of
                                      40


        1 integration with minimal non-recurring engineering."              1      A. Yeah, If it came from me, it's probably cool.
        2          Do you see where it says that?                           2      Q. Okay. And so if you look at this, the bottom
        3      A. Mm-hmm, yes.                                              3 email on Page 1 is dated June 18, 2009. It's an email
        4      Q. Do you think that reflects the state of                   4 from Jerry to you,
        5 GenAudio's state of technology at that stage?                     5         At the bottom of that page he says, "See you
        6          MS. HUGHES: Objection. It calls for                      6 in a couple of hours." Do you see that on Page 1?
        7 speculation.                                                      7      A. Oh, okay. I'm sorry, I was looking at the
        8      A. I -- you know, I -- as I said, I read a lot of            8 top,
        9 this stuff and T -- I glossed -- I got down to the                9      Q. Yeah, look at --
       10 bottom, okay. What is it that you -- okay, you're going          10      A, I see it -- June 18th.
       11 to "Give me a license to open up the Expander,"                  II      Q. June 18th. And on the bottom of Page 1, it
       12 "Okay. I'll try it. I'll bite." I downloaded this                12 says, "See you in a couple of hours." Do you see that?
       13 free software, and it haunts me to this day. It                  13         Here, mine's highlighted. You can see it a
       14 won't -- I can't find the hidden file, and it --                 14 little better.
       15          Every time I start a computer up, it comes              15      A. Okay. Yes.
       16 up -- it has no software attached. I can't find the              16      Q. So, does that reflect that Jerry was meeting
       17 hidden file. I found it -- I found -- it's a big, long           17 with you on June 18, 2009?
       18 numerical code. And at some point Pm going to figure             18      A, It -- it says that.
       19 it out. But it — whenever I restart the computer, that           19      Q. It appears to reflect that meeting?
       20 stupid free -- say it here --                                    20      A. Pll -- yeah.
       21      Q. (By Mr. Aveni) Okay,                                     21      Q. Is there any reason to think that meeting
       22      A. -- stupid free software.                                 22 didn't take place?
       23      Q. If you look at the middle paragraph of that              23      A. There's no reason for me to believe it didn't,
       24 page, the last sentence says: "... I would like to take          24      Q. Okay. So, I'm marking it on Exhibit-82.
       25 the next steps with Apple and see if Apple is interested         25      A. Even though this -- (mumbling) -- yeah.
                                                                 Page 70                                                             Page 72

           in having AstoundStereo integrated into iPod and iPhone          1      Q. Do you recall what took place at that meeting?
        2 product offerings via licensing." So, that's just to              2      A. Just let me -- (mumbling) -- okay -- "a fly on
        3 say --                                                            3 the wall" -- yeah, thanks,
        4         I mean, you understood Jerry was trying from              4      Q. Yeah, I know what you're --
        5 the outset to sell you AstoundSound through a licensing           5      A. I'm sorry for the mumble, I just kind of --
        6 agreement?                                                        6 trying to read through this.
        7     A. Yes.                                                       7          MR. HOLMES: You know, the only caution I give
        8        MR. AVENI: Okay, Okay. Let's mark                          8 you is that if it is audible, the court reporter will
        9 Exhibit-86.                                                       9 probably try to take it down,
       10        (Exhibit-86 marked for identification.)                   10          THE WITNESS: I understand, I understand, I
       11     Q. (By Mr. Aveni) Okay. Do you recognize                     11 just -- they couldn't hear, and I was mumbling into my
       12 Exhibit-86?                                                      12 paper here.
       13     A, Oh, here's -- here's the comment I made -- "It            13          MR. AVENI: And I realize that someone in my
       14 doesn't sound like Matthew is really on your business            14 office attached an extra email to the back of this
       15 team. I'm sorry, these are rules we have to live with            15 (indicating Exhibit-86).
       16 around here."                                                    16          THE WITNESS: This one?
       17     Q. Right. And you're referring to -- earlier,                17          MR. AVENI: So, the last page. Let's take
       18 you said one time he showed up and wanted to bring               18 that page off and -- that email on the last page there
       19 another                                                          19 is not part of this document.
       20     A. Yeah.                                                     20          THE WITNESS: Okay.
       21     Q. -- non-GenAudio person to Apple?                          21          MR, AVENI: But we'll talk about that one --
       22     A. Yeah,                                                     22 since it's here, we'll talk about that one as well.
       23     Q. Okay. So, you recognize this document?                    23          THE WITNESS: Okay.
       24     A. I'll take it for its word,                                24          MR. AVENI: I'll mark that separately. Okay,
       25     Q. Okay.                                                     25      Q. (By Mr. Aveni) So, at the top of this exhibit
                                                               Page 71                                                               Page 73

                                                                                                                   19 (Pages 70 - 73)
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Case 1:15-cv-02118-WJM-SKC Document 89-7 Filed 03/30/18 USDC Colorado Page 12 of
                                      40


         1 conversation even with GenAudio ended from my point of               take that back, This is an email from you to Jerry
         2 view, where I worked at iPod and iPhone.                          2 Mahabub, And you say, "Hi Jerry, Nice to see you
         3         After we had — I guess, we'll go -- continue              3 today!!" Do you see that?
         4 with big meeting — with Michael Hailey's manager, he              4       A. Yes.
         5 was still working -- GenAudio was still working with the          5       Q. So do you recall having a meeting with
         6 folks in the -- in the Mac hardware/DSP audio side of             6 Mr. Mahabub on August 11, 2009?
         7 the street,     call it, that I introduced -- the Ron             7       A. Yes.
         8 Isaacs of -- of the conversation.                                 8       Q. Okay. I'm going mark that on Exhibit-82. Do
         9         That's a separate thing. They're colleagues               9 you recall what that meeting was about?
        10 of mine, friends. And -- and they had an -- they had a           10       A. I'm taking it -- from here -- that he handed
        11 somewhat general interest in it. And it's — but they             11 me probably an i-touch, with the feature set that I
        12 had no program driving -- that they use this product.            12 asked him to work on. There was some -- you know,
        13      Q. And you weren't involved in those discussions?           13 obviously there were some issues -- technical issues --
        14     A. No. I went -- and sometimes I was invited to              14 respond to a feedback, based on what I see here, and --
        15 their meetings -- maybe all of them -- I don't know how          15 and also called him on -- on making sure that the levels
        16 many meetings they ever had with GenAudio. It wasn't             16 were matched.
        17 really -- at Apple, we don't -- everything is                    17          Again, it doesn't take but a little bit to
        18 confidential, And -- and even though we're all on the            18 make people think that they're hearing better because
        19 same team, unless you're working on the project, you             19 it's louder or quieter, So, he -- I want to make sure
        20 don't know anything, so --                                       20 this was a level-playing field. The same thing happened
        21     Q. Okay.                                                     21 with SRS, I made sure that they -- "Hey, you guys got
        22     A. So, the guys across the street -- the Ron                 22 to make sure that these are matched,"
        23 Isaac of this conversation that we're -- they -- they            23       Q. So then at the bottom you say, "BTW" -- that
        24 were on their own thing. And -- and since they're in             24 means by the way, right?
        25 development and prototype and things -- things that --           25       A, Yes.
                                                                 Page 110                                                            Page 112

         1 there's no finished product there.                                1      Q, "By the way (sic), this is a great demo
         2         It's just a lot of concepts. It's a -- little             2 device, congratulations! !" So, you're pleased with the
         3 projects going on all over. And they'd invite me at               3 work that Mr. Mahabub gave —
         4 times for projects — they're looking — they got a                 4      A Yeah --
         5 vendor that came in and showing them -- I mean, I --              5      Q. -- to you at this stage?
         6         Over that period of time, we had -- I don't               6      A. -- an edible way, if you will.
         7 know -- 15 different vendors that probably had this kind          7      Q. Okay.
         8 of software. Some were from -- came all the way from              8      A. Well, I -- I tell you what -- off the record?
         9 England, Germany. I'm -- it was sporadic. They'd just             9         MR. AVENI: We can go off the record,
        10 come in and show us what they have, to generate some             10         (Discussion held off the record.)
        11 interest,                                                        11         MR. AVENI: Okay. Let's mark the next one
        12         "Hey, do you guys think you can do something             12 Exhibit-95.
        13 with this?" And so they'd invite me to their meetings,           13         (Exhibit-95 marked for identification.)
        14 you know, ''A vendor coming in, You want to check it             14      Q. (By Mr. Aveni) Okay. This is another one
        15 out?" "Sure. I'll set out some time and come over and            15 that's marked with an APL Bates label on the --
        16 check it out." So, just to fill you in with -- with              16      A. Okay.
        17 everything.                                                      17      Q. -- lower right-hand corner, reflecting that
        18         MR. AVENI; Let's mark this one here.                     18 Apple produced it. But this is a calender entry, it
        19         (Exhibit-94 marked for identification.)                  19 looks like, from you for another internal meeting with
        20     Q. (By Mr. Aveni) Okay. You see on the lower                 20 Michael Bailey. Do you see that?
        21 right-hand corner — again, this is a document that you           21      A. Right, I see it.
        22 produced, Does this look right?                                  22      Q. And it says at the top, "AstoundSound demo"?
        23     A. Yeah.                                                     23 A, Mm-hmm
        24     Q. Okay. If you look at Jerry Mahabub's email to             24      Q, This is about a week and a half after the last
        25 you, the bottom of Page 1, it says -- oh, I'm sorry. 1           25 calendar entry for an internal meeting with Michael
                                                                 Page 111                                                            Page 113

                                                                                                                 29 (Pages 110 - 113)
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Case 1:15-cv-02118-WJM-SKC Document 89-7 Filed 03/30/18 USDC Colorado Page 13 of
                                      40

       1       A. Yes,                                                       1        I guess, my question is: At this point, did
       2       Q. Okay. If you look at the -- so, this is an                 2 you feel like you had a close collaborative relationship
       3 email from Jerry Mahabub to you, It's dated August 19,              3 with Mr. Mahabub?
       4 2009.                                                               4     A. We had a good vendor/business relationship.
       5       A. Mm-hmm.                                                    5     Q. You guys talked frequently at this point?
       6       Q. And then at the bottom of that email, be says              6     A. Based on the emails and the -- and probably
       7 to you, "Much appreciated your help. Although I am                  7 phone calls, yeah.
       8 happy that you are my POC at Apple" -- I understand that            8     Q. Okay,
       9 to mean point of contact at Apple?                                  9     A. I mean, I -- I don't know what to say to that,
      10       A, Mm-hmm, yes.                                              10 except -- yeah, it was -- yeah, based on the emails, it
      11       Q. -- "and feel that we have become friends, I               11 looks like we had a decent communication --
      12 wish that I had you or someone like you working on my              12     Q. Okay.
      13 team? !!"                                                          13     A. -- on it.
      14          Do you feel like by August 19th, by this date,            14         (Exhibit-98 marked for identification.)
      15 that you and Jerry Mahabub have worked closely together?           15     Q. (By Mr. Aveni) Okay. From the Bates stamp,
      16       A. Yeah, I would say that.                                   16 again this looks like another document you produced; is
      17       Q. Did you have the same feelings of friendship              17 that right?
      18 back towards Mr. Mahabub at this stage?                            18     A. Yes,
      19       A. He -- we just had a good vendor/Apple working             19     Q. Do you recall this email?
      20 relationship, I would say, you know.                               20     A. No. But, I guess, I'm going to rip on it.
      21       Q. But your collaboration was --                             21 I --
      22       A, Our collaboration was good.                               22     Q. This is an internal email, right, from you to
      23       Q. And it was close at this point, right? You                23 Michael Halley?
      24 guys were working a lot together. I mean, it seems like            24     A. Yes.
      25 it's a very -- it seems like it's an emotional comment             25     Q. And is it fair to say the email reflects that
                                                              Page 118                                                              Page 120

        1 from Mr. Mahabub, that reflects a lot of communications            1 you were enthusiastic about GenAudio's technology,
        2 with you over time on this project; is that fair?                  2 right?
        3          MS. HUGHES: Objection to the form of the                  3        MS. HUGHES: Objection to the fonn of the
        4 question.                                                          4 question.
        5      A. I -- I don't know how I felt at that point.                5     A. Let me read this and see if I can --
        6       you know, I -- I got along with him well. I                  6     Q, (By Mr. Aveni) Sure.
        7 respected, you know, the big effort that he put into               7     A, -- gather -- I'm a slow reader, so trying to
        8 this. It didn't go unnoticed with me, personally. So               8 digest what process -- what I was thinking about.
        9 if you're asking about personal feeling, I -- I really             9        Okay.
       10 respected the fact that he -- he -- he did all the -- he          10     Q. Okay. So, is it fair to say that the email
       11 went through all this work.                                       11 reflects that at this stage you were enthusiastic about
       12      Q. (By Mr. Aveni) And it was a close                         12 GenAudio's technology?
       13 collaboration by this stage, right?                               13        MS. HUGHES: Object to the form. Leading.
       14      A. Based on the emails, that's -- that's about as            14     A, Yes. It doesn't say anything negative.
       15 far as we went. We swapped out gear. We made a call.              15     Q. (By Mr. Aveni) It seems pretty positive,
       16 "Hey, can you bump it up?" I sent him graphs, things              16 right?
       17 that would help him understand what the issue was.                17     A. It seems -- it seems positive.
       18          Again, he on his own -- had he walked in --              18     Q. You say, at the top of the second paragraph,
       19 "Hey, I'm done with my amplification" -- working on the           19 "It works as advertised." What was working as
       20 outside with no other help -- and he comes in and                 20 advertised?
       21 shows -- "Hey, it's not ready. It's -- it's -- you got            21     A. Well, it's a figure of speech in this case.
       22 to do some more work."                                            22 But, you know, that he was able to take -- do you want
       23      Q. Right. And I'm not trying to --                           23 me to explain what -- what he means by fold -- I don't
       24      A. So --                                                     24 know if I used the word "fold down" in here. But movies
       25      Q. I'm not asking you, was the project ready?                25 are created in six channels -- 5,1 -- five nonnal
                                                                 Page 119                                                          Page 121

                                                                                                                31 (Pages 118 - 121)
                                                        Veritext Legal Solutions
                                                             866 299-5127
Case 1:15-cv-02118-WJM-SKC Document 89-7 Filed 03/30/18 USDC Colorado Page 14 of
                                      40


         1      A. It's a puzzle, I really don't know. I -- I               1 product rollout if we work really (sic) hard and fast!"
         2 mean, I'm just -- based on -- 8/29 -- so I -- you know,          2 You know, that just he just generated this.
         3 what is 8/29? I'm looking at --                                  3      Q. So, you disagreed with him about the status?
         4      Q. Well, we don't have to go back -- I will say             4      A, Yeah, absolutely. I mean, this isn't even my
         5 approximately --                                                 5 call.
         6          MS. HUGHES: August 26, I believe.                       6          MR, AVENI: Okay. And we'll get to that. So,
         7          MR. ELTRINGTIAM: 26,                                    7 let's talk about this one at a time,
         8          MR. AVENI: Okay. I'll say approximate --                8          MS. HUGHES: Could we stop for a moment?
         9          THE WITNESS: Or maybe it wasn't,                        9          You just read something about Christmas
        10          MR. HOLMES: I'll represent that 8/19 and 8/26          10 rollout. Where is that on Exhibit --
        11 were Wednesdays.                                                11          THE WITNESS: The the final --
        12          THE WITNESS: Okay.                                     12          MS. HUGHES: Oh,
        13          MR. ELTRINGHAM: I have a calendar up here.             13          THE WITNESS: -- paragraph on this this one
        14      A. But, I mean, to be specific, I don't know.              14 right here -- of his email,
        15 You got something that ties this together, that I can --        15          MS. HUGHES: Thank you so much.
        16          MR. AVENI: Well, that -- I think they -- that          16       Q. (By Mr. Aveni) Okay. So, let's talk about
        17 ties it as well as we can. I don't know that the actual         17 Mr. Mahabub's comment about AstoundSound and realtime
        18 exact date matters. So I've reflected on here,                  18 during game play and it's already for the most part
        19 approximate, 8/26. Okay. You can put that aside.                19 done.
        20          (Exhibit-100 marked for identification.)               20          Did you talk to Mr. Mahabub about whether you
        21      Q. (By Mr. Aveni) Okay. Exhibit-100 is another             21 agreed with that statement? Did you tell him something
        22 document, the Bates stamp reflects, that you produced           22 like -- that you didn't think it was as far along as he
        23 this one. Does that look right to you?                          23 did -- anything like that?
        24      A. I got to read through --                                24       A. No, I never called him on those things. He --
        25      Q. Sure.                                                   25 you can look at all these emails, and they all have
                                                                Page 126                                                          Page 12t

         1       A. -- try to get into context.                             1   conclusion and assumptions and -- and I think he was --
         2       Q. Sure, Take a minute.                                    2   he just had a sales hat on -- salesman hat. So, I --
         3       A, Okay. I mean, if I send it, it's -- I'm sure            3   I -- I just glossed over that stuff and —
         4 it was in my email box.                                          4       Q, You wouldn't respond back to him on --
         5       Q. Okay. If you look at the second page                    5       A. Oh god --
         6       A. Mm-hrnm,                                                6       Q. -- anything --
         7       Q. -- there's a paragraph that starts, "The                7       A. -- you can go through all these emails. And I
         8 solution for Apple ..." Do you see that?                         8   can probably highlight, you know, places I could have
         9       A, Yes.                                                    9   said many, many, many, many times, you know. But I
        10       Q. Okay. The last sentence of that paragraph              10   wasn't -- I'm not going to sit there and cot -- all I
        11 says, "AstoundSound in real-time during game play, and          11   cared about was, did you adjust the thing the way I
        12 it is already for the most part done," Do you see that?         12   asked you to do it or not,
        13       A. Yes.                                                   13       Q. And so it's fair to --
        14       Q. So when you read that, did you understand that         14       A. And remaining friendly.
        15 Jerry Mahabub was saying he thought most of the work he         15       Q. So, it's fair to say -- I want to try to clear
        16 needed to implement AstoundSound into Apple for gaming          16   up the record a little bit, just so that it's clear what
        17 was already completed? Is that what it seems like what          17   we're talking about later.
        18 he was trying to say there?                                     18            You're saying that Jerry Mahabub would
        19       A. Yeah, in his judgment. That's not our                  19   frequently make comments to you about his view, about
        20 judgment.                                                       20   how far down the road the technology was in terms of
        21       Q. That was --                                            21   being ready to implement, right?
        22       A. No, he -- he constant -- I mean, you can go            22       A. Right. He was --
        23 right down -- he -- he -- I mean, I'm going to skip for         23        Q. And --
        24 a second, I — I read this. And I said -- "... however           24       A. -- trying to be -- he's trying to en -- show
        25 it is in fact a very real and attainable goal for X-mas         25   me that he's confident, that he -- he -- that he saw the
                                                               Page 127                                                           Page 129

                                                                                                               33 (Pages 126 - 129)
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                                                             866 299-5127
Case 1:15-cv-02118-WJM-SKC Document 89-7 Filed 03/30/18 USDC Colorado Page 15 of
                                      40


        1 end game; that, you know, we can do it right now.               1      A, Okay.
        2 That's the way I -- we're ready to roll --                      2      Q, But, 1 mean, he really appeared to believe in
        3     Q. Right.                                                   3 his prospect; right?
        4      A. And, you know, that's --                                4      A. Oh, yes.
        5     Q. And you don't recall ever telling him                    5      Q. And he really appeared to believe in the --
        6 something like, "Jerry, that's not the case or that's           6 you know, in a possible transaction with Apple?
        7 not the stage" -- or anything like that?                        7      A. Yes,
        8      A. I don't know if we ever did. I think there              8      Q, He's --
        9 were a couple of times where he asserted himself, like          9      A, I would assume -- I mean, that's the
       10 "I know how to sell this stuff " I said, "You're not           10 assumption -- somebody walking in, they're going to
            coming to this meeting. It's not that kind of meeting."      11 hopefully close something. I mean, he's not doing it
       12         It's -- it's -- it's superficial. It's not             12 for free, so --
       13 digging down into the nitty-gritty or -- or -- or we're        13      Q. And from your interactions with him, do you
       14 going to knock out term sheets here -- anything like --        14 understand he seems to think that that was likely --
       15 it wasn't anything like that.                                  15 that a deal was going to close with Apple?
       16         This was -- I'm presenting a concept. You're           16         MS. HUGHES: Objection. Lack of foundation,
       17 building the demo, We're frying to fine-tune the demo          17      Q. (By Mr. Aveni) I mean, he's making --
       18 and putting our best foot forward. And that's all I            18      A. I wasn't --
       19 cared about. You know, as far as details, they're              19      Q.    these statements --
       20 high-level.                                                    20      A.    thinking that far in advance.
       21         You know, hey, is it -- it's not working, you          21      Q. And I understand you weren't. And we can talk
       22 know. It's -- the button's in the wrong place, or it's         22 about that. But, I guess, my question is: Did it look
       23 got a scratch on it. It's making a ticking sound, It           23 like Jerry was thinking that far in advance?
       24 cuts out, It's drawing too much power.                         24      A. Um --
       25     Q. So, you were focusing on the specific tasks             25      Q. You said that he makes these comments all the
                                                              Page 130                                                        Page 132

        1 that needed to be done --                                       I time. And you said he's an enthusiastic guy. He really
        2      A. Yeah.                                                   2 seemed to believe in the value of his technology.
        3      Q. -- rather than responding to each of his                3          Did it seem like he was convinced -- right or
        4 comments regarding the status of implementation?                4 wrong -- that he was further down the road with Apple
        5      A. Yeah, he -- you know, the -- the -- all these           5 and that a transaction with Apple was likely?
        6 documents --                                                    6          MS. HUGHES: Objection. Calls for speculation
        7      Q, Okay.                                                   7 on what Mr. Mahabub thought.
        8      A. -- have that sort of thing in there.                    8          MR. AVENI: I'm asking based on the witness's
        9      Q. Okay, So, let's talk about -- and we'll go              9 interactions with him.
       10 through a number of them. Let's talk about this other          10          You can answer.
       11 sentence that you read, which is in the middle of that         11      A. I didn't make specific note, It -- it seemed
       12 page --                                                        12 like it was just part of who he was. You know, if it's
       13      A, Yes, okay.                                             13 constantly coming out of him like that, you know, you
       14      Q. -- where he says, "... however it is in fact a         14 just accept it. Oh, there's another one. It was
       15 very real and attainable goal for X-Mas" -- meaning            15 harmless, I'll say it that way.
       16 Christmas, right?                                              16      Q. (By Mr. Aveni) Did you have --
       17      A, Right,                                                 17      A. I took it as being harmless, I wasn't
       18      Q,     "X-Mas product rollout if we work hard and         18 thinking about this in any way, shape, or form because
       19 fast." I mean, Jerry's an optimist with regard to his          19 it really -- it -- you know, if it was -- in romantic
       20 technology. Is that fair to say he comes across that           20 parlance, we're — we're -- "Let's go get some coffee,"
       21 way?                                                           21 What does that mean? We're getting coffee.
       22      A, He was enthusiastic,                                   22          It just -- it wasn't on my radar. Look, it's
       23      Q. He's enthusiastic.                                     23 just -- I'm just focused on the technical -- a couple of
       24      A. And he had a salesman hat on.                          24 yuks once in a while, You know, he -- he -- he --
       25      Q. Sure,                                                  25 obviously, he's very enthusiastic. And on a personal
                                                              Page 131                                                        Page 133

                                                                                                            34 (Pages 130 - 133)
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Case 1:15-cv-02118-WJM-SKC Document 89-7 Filed 03/30/18 USDC Colorado Page 16 of
                                      40


         1 level, he's -- he's got a big personality. I mean,                  1      A. I don't know. If you have an email that
         2 there's no doubt about it, okay.                                    2 shows -- but, you know, I recall -- again, he -- he --
         3          So, you know, beyond that -- and getting back              3 it was a constant drive towards, you know, "Let's --
         4 to this -- I mean, this -- the ques -- I have no way of             4 let's make the deal," okay. And, you know, I think
         5 answering it, It's just -- it's -- it's throughout                  5 Michael Hailey at one point said something about that.
         6 everything we've got here. Which one do you want me to              6 He said, "We'll -- we got you, you know. It's" -- you
         7 pick from?                                                          7 know.
                Q. Yeah. And we'll talk about -- I realize —                   8      Q. Okay.
         9      A. I mean, it's like --                                        9      A. I -- I --
        10      Q. -- he made a lot of these kinds of comments --             10      Q. You can put that aside.
        11      A. Yes.                                                       11      A. Let's keep going.
        12      Q. -- right?                                                  12      Q. I just thought --
        13      A. Peppered it throughout the conversation and                13      A, I don't know how to answer your question. I
        14 this. And it was never very specific. It was just                  14 mean, it's --
        15 something that washed over me. I just did not didn't               15       Q, There's a lot of them.
        16 think about it.                                                    16      A, There's a lot of them.
        17      Q. And do you have any reason to think                        17       Q. There are a lot of those comments. I will
        18 Mr. Mahabub did not genuinely believe in these                     18 skip some of them for your sanity.
        19 statements when he says here, "It is in fact a very real           19      A. Yeah.
        20 and attainable goal for X-Mas product rollout" --                  20          MR. AVENI: Okay. Let's mark that as
        21          When he makes statements like that, did you               21 Exhibit-101.
        22 have any reason to believe that he didn't believe that?            22          (Exhibit-101 marked for identification.)
        23 I mean, he seemed genuinely to believe this --                     23       Q. (By Mr. Aveni) Okay. This exhibit appears to
        24      A. I'll tell you what I took that as, okay.                   24 be another document that you produced. Does that seem
        25 After reading some of these, I -- I just took it that --           25 to be the case?
                                                                  Page 134                                                            Page 136

         1 "Hey, it wouldn't take a whole lot to get this thing                1      A. Yeah. Yeah, I see that.
         2 ready to go. We're ready to go." He was -- that was a               2      Q. Okay.
         3 constant. We're — we're this -- you know, isn't -- you              3      A. But -- well, go ahead, Go ahead with your
         4 tell me -- I think one of the comments --                           4 question. I'm just -- never mind,
         5          But he says, "You tell me how high to jump,                5      Q. Okay. If you look at the first sentence --
         6 I'll jump. I'll get this done." And -- and that's --                6 so, this is an email from Jerry Mahabub to yourself and
         7 as I mentioned earlier, he did a lot of work and --                 7 to Michael Hailey --
         8 and -- and -- and, you know, I had to bring up the                  8      A. Mm-hmm,
         9 software.                                                           9    Q.       to you --
        10          And all I cared about was creating a demo that            10    A. Yes.
        11 I could present to somebody. And I complimented him on             11    Q. -- dated September 16, 2009. And it says, "It
        12 his ability to get it done, so --                                  12 was great to meet with you both today." Do you see
        13       Q. So you testified you didn't respond to Jerry              13 that?
        14 on this X-Mas product rollout, and you generally didn't            14    A. Yes.
        15 respond when he made these comments.                               15    Q. Do you recall a meeting with Jerry Mahabub and
        16          Do you know if anybody else responded to him,             16 Michael Bailey on or about this date?
        17 when he said, "it is in fact a real and attainable goal            17     A. I'll take that this was official,
        18 for X-Mas product rollout?                                         18    Q. Okay. So, I will mark on Exhibit-82. By my
        19       A. Well, yeah, I've --                                       19 count, we're up to about, you know, eight --
        20       Q. Did anybody else --                                       20     A. If you have a calendar that event ties with
        21       A. I -- I've --                                              21 this, I'll agree to it, I --
        22       Q. -- respond to this and say, "Jerry, that's not            22     Q. Do you need a calendar event? I mean --
        23 what we talked" --                                                 23     A. No, I mean, I -- I -- I recall this kind of
        24       A. This one specifically?                                    24 email.
        25       Q. Yes, this one.                                            25     Q. Okay. And generally when he said to you, "It
                                                                   Page 135                                                         Page 137

                                                                                                                  35 (Pages 134 - 137)
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Case 1:15-cv-02118-WJM-SKC Document 89-7 Filed 03/30/18 USDC Colorado Page 17 of
                                      40

       1 was great meeting with you both today," is it fair to         1      mode. Less Active ... +3db ..."
       2 say that you guys met that clay?                              2              In other words, bass is up by 3 dB or down by
       3      A. Yes.                                                  3      3 dB. So -- "I'm anxious to see your entire system
       4      Q. Okay, Do you happen to recall the purpose of          4      ..." Okay. So what I would do is I gave him a test
       5 this particular meeting?                                      5      file, a special test file, that -- that would -- I know
       6      A. I have to read this through here. But -- yes,         6      I used the term -- that would actually -- that he could
       7 I -- I -- I'm updated with what I'm reading here. But I       7      use.
       8 don't -- I don't see what's important here,                   8              He send it he'd mil it through on a file on
       9          MR. AVENI: Okay. That's fine. We can move            9      his system, send it back to me, and I'd de-convolute it
      10 on.                                                          10      in my system. And -- and it would show me where his
      11          THE WITNESS: Okay.                                  11      adjustments went with reference to a straight line
      12          MR. AVENI: Mark that as Exhibit-102, and this       12      across the screen, on the graph. So, that's what this
      13 one as 103.                                                  13      was about.
      14          (Exhibits-102 and 103 marked for                    14              MR. AVENI: Okay. I'm going to reflect that
      15           identification.)                                   15      meeting on Exhibit-82 as Meeting 9. And you can put
      16      Q, (By Mr. Aveni) Okay. Exhibits-102 and 103            16      those two exhibits away. Okay.
      17 also appear to have been produced by you. Does that          17              Let's mark that as 104.
      18 look to be the case?                                         18              (Exhibit-104 marked for identification.)
      19      A. Yes, I --       take that it came from me.           19          Q. (By Mr. Aveni) It appears to be another email
      20      Q. Okay. And these two cmails appear to reflect         20      that you produced; is that right?
      21 another meeting between you and Mr. Mahabub on Octobet 21                A. That's what it says, yes.
      22 1, 2009. Do you see that?                                    22          Q. Okay. There's this one line here. It says --
      23      A. Yes.                                                 23      this is an email from you to Jerry Mahabub October 8,
      24      Q. Exhibit-103 says, "See you in about                  24      2009, It says, "Awesome! At least for me, this is the
      25 2 hours!" at the bottom. Do you recall that meeting          25      best demo, As an aside anymore Dead videos available?
                                                             Page 138                                                                 Page 140

       1 with Mr. Mahabub?                                                 1 I believe the man loves the Dead."
       2      A. Not specifically.                                         2         Do you see that?
       3      Q. Okay.                                                     3     A. Yeah.
       4      A. Quite often what -- what would happen is -- is            4      Q. Do you know who "the man" is that you're
       5 that since the application was a developer copy, that he          5 referring to there?
       6 had put in -- there's provisioning, meaning they say              6      A. 1 don't. I'm trying to think who -- who the
       7 that the -- the -- the application time bombs. You                7 man — "Dead videos ... the man loves the Dead." Oh,
       8 know, it's only capable of operating for 30, 60, 90 days          8 yes. It was -- it was -- Michael Bailey's boss liked
       9 or something like that. I'd -- I've forgotten what it             9 the Dead -- like the Grateful Dead,
      10 was.                                                             10      Q. What was his name?
      11          And sometimes I'd have it bricked. In other             11      A. Greg -- Gregory Joz Jozwiak Jozwiak,
      12 words, it just wouldn't operate anymore with that                12 J-O-Z-W-I-A-K. Or it's actually an S. Sorry.
      13 application. He'd had to re-provision them, reset the            13 J-O-S-W --
      14 clock. Now, that's something he did. It was an option            14      Q. Joswiak?
      15 that -- for him to do, that he — you know, or -- or if           15      A. Joswiak.
      16 it was part of the developer package from Apple, that's          16      Q. Okay. He liked the Grateful Dead?
      17 the way it worked. And he just enabled the function,             17      A. I think he liked the Grateful Dead.
      18      Q. Arc you saying that was the purpose of this              18      Q. So, you were preparing demos for him?
      19 meeting?                                                         19      A. Yeah, we are preparing demos. At some point,
      20      A. It might have been to swap them out. Hey, I              20 we were preparing demos that we could -- Michael and I
      21 got an updated unit. I don't know. But, see, you can             21 could go in and say --
      22 set that it -- it -- in here, he had some button                 22         MR. AVENI: Okay.
      23 settings and -- and he's telling me -- "An exact level           23         (Exhibit-105 marked for identification.)
      24 match and response matches bypass mode. More. ldb                24      Q. (By Mr. Aveni) Okay. This appears to be
      25 hotter" -- meaning loudness -- "compared to the bypass           25 another document that you produced; is that right?
                                                               Page 139                                                          Page 141

                                                                                                                 36 (Pages 138 - 141)
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Case 1:15-cv-02118-WJM-SKC Document 89-7 Filed 03/30/18 USDC Colorado Page 18 of
                                      40


        1      A. Yep.                                                         everything else. It's just a little third-party game.
        2      Q. Okay. Okay. So in the bottom paragraph                    2 This might as well be a game, That's a different
        3 there, in Mr. Mahabub's email, November 3, 2009 --                3 thing -- cup of tea -- versus something that's fully
        4      A. Mm-limm.                                                  4 integrated. It's got to run through hours of testing,
        5      Q,      to you --                                            5 quality control testing.
        6      A. Yes.                                                      6       Q. And Jerry Mahabub didn't seem to understand
        7      Q. -- it says, "Hopefully Mac division signs off             7 that, right?
        8 on this and we can get moving on to the next step,                8       A. Well, he's -- he has a salesman hat on.
        9 especially if there is any hope of having this done by            9 That's the way I took this, honestly.
       10 MacWorld from the marketing side, it would only make             10       Q. Did you respond to this comment?
       11 sense that we start to figure out the deal structure             11       A. I didn't, no, I mean, I totally glossed over
       12 between Apple and GenAudio sooner rather then (sic)              12 it. I mean, if you take a look at this and -- I -- I
       13 later."                                                          13 just said, "Hey, it's" -- what time -- let's see -- 3:30
       14         Do you remember seeing that?                             14 p.m. -- and then I wrote this at 11:56 at night, right
       15      A. No. But I'm reading it.                                  15 before I rolled into bed. I mean, I just -- I ignored
       16      Q. And when you saw that, did it seem to you                16 it. It's just another passing comment.
       17 Jerry believed there was a strong possibility the                17       Q. As far as you know, did anybody else at Apple
       18 transaction would be completed?                                  18 respond to that comment?
       19      A, It could -- yeah, I could have ignored it                19       A, Uh --
       20 and you know, because it already starts off with the             20       Q. I mean, nobody else was in this email chain.
       21 -- "having this done by MacWorld" implies he's                   21 But as far as you know --
       22 already -- his end game is -- there's product to put             22       A, Yeah, no. I -- again, it was just -- to me,
       23 this into MacWorld's -- you know, a place that -- that           23 it was just a salesman hat. "By the way, we can have
       24 Apple launches products sometime, which they ended up            24 this thing done," That's the way I -- I took a lot of
       25 backing out of, And --                                           25 his comments, just like that. I --
                                                               Page 142                                                               Page 144

        1      Q. What time of year is MacWorld?                                   Q. Did you and he -- so, you -- Strike that.
        2      A. It is around January of -- right after CES or             2         You mentioned that having it done by MacWorld
        3 during CES, I think, which is January -- first or second          3 was not realistic because once you got approval, a whole
        4 week of January.                                                  4 bunch of other things had to --
        5      Q. So, Jerry Mahabub is telling you here that he             5      A. Oh, yeah.
        6 thinks a deal between GenAudio and Apple could be                 6      Q. -- happen, right?
        7 imminent?                                                         7         Did --
        8      A. I -- I think he's suggesting -- the way I take            8      A, Hit the reset button.
        9 it and the way I -- that's why I say I just kind of               9      Q. Did you and Jerry ever talk -- Strike that.
       10 gloss over it, The way I take it is, if we can get this          10         Did you and Jerry Mahabub ever talk about all
       11 thing done, you guys could have it in your product in            11 those other steps that needed to happen?
       12 time for MacWorld,                                               12      A. No, I don't think so.
       13      Q. Right,                                                   13      Q. As far as you know, did Jerry understand that
       14      A. It isn't -- it isn't -- I mean, it's just                14 all those other steps needed to happen?
       15 impossible to even -- knowing what I know, that isn't            15      A. If I would've said something, it would've been
       16 the way it works. This is software. So, this would be            16 what I just told you; that, "Hey, look, you know, this
       17 this application, GenAudio would be handed off to a              17 is -- this is -- we're just trying to get somebody to
       18 whole different team -- software team,                           18 sign off on the idea."
       19          And they'd start over on the guy. That --               19         And then what would happen is that then,
       20 should run it through and make sure because, you can             20 they would start to go, "Well, is there anything else
       21 imagine, every time somebody changes the code, it could          21 out there that's competitive, might be better?" You
       22 break the darned thing. It isn't simply just a "plug in          22 know, we get into these rooms with with white boards
       23 this -- "                                                        23 and, you know, slide presentations. And we show why
       24          So while we have it working on something like           24 this one's better.
       25 this, in an application, that's totally separate from            25         Whether it's -- you know, when we took a group
                                                                Page 143                                                            Page 145

                                                                                                                 37 (Pages 142 - 145)
                                                        Veritext Legal Solutions
                                                             866 299-5127
Case 1:15-cv-02118-WJM-SKC Document 89-7 Filed 03/30/18 USDC Colorado Page 19 of
                                      40


        1      Q. Sure.                                                     1 guys exchanged. We've talked about the phone calls,
        2      A.    DSP. And they're working over there. But               2         I mean, is it fair to say that from this point
        3 he -- and -- and actually I may have not even -- I                3 where we are now in the timeline -- November 2009 --
        4 shouldn't have been probably necessarily included on the          4 that the ongoing discussions were getting fairly
        5 email thread because --                                           5 extensive with GenAudio?
        6      Q, Yeah, I understand -- I understand you weren't            6         MS, HUGHES: Object to the form of the
        7 involved in the stuff with Ron Isaac.                             7 question.
        8      A. Right, I was not involved, And I was kept in              8      A, I mean, based on these emails and what I know
        9 the loop here. And I don't know if I -- there may have            9 about it, GenAudio was meeting as an outside vendor
       10 been a couple of times, somewhere along the road, they           10 trying to engage with Apple to demon -- to demonstrate
       11 said, "Hey, you know, you probably shouldn't include me          11 their product at its best. That's —
       12 on this thread." But the point is -- is I -- I --                12      Q. (By Mr. Aveni) Sure.
       13 don't know what -- this is out of context right now for          13      A. So, they were doing what was -- would take to
       14 me, except it doesn't seem to be any issue.                      14 make it viable, at least from a demo standpoint.
       15      Q. Okay.                                                    15      Q. And from a vendor's perspective -- I mean, you
       16     A. Right.                                                    16 know, vendors come to you -- as we've talked about --
       17      Q. And my question is simply I'm just                       17 they want to sell you something. I mean, it's Apple.
       18 establishing the meeting, so I --                                18 It's probably -- for many of these guys, like a company
       19     A. I -- I may have --                                        19 like GenAudio, it's their dream to get to sit down with
       20     Q. Any --                                                    20 you guys.
       21     A. — missed the meeting.                                     21         From a vendor's perspective, you know,
       22     Q. Well, but here he says, "Hi RonNic, Great                 22 GenAudio's gotten to sit down with you ten times -- at
       23 seeing you both again earlier today." So, he's saying            23 least, you know, that we can confirm in mails, He's,
       24 he saw you. Do you have any reason to think --                   24 you know, having regular phone calls with you, you know,
       25     A. I --                                                      25 regular email communications with you. You know, at
                                                             Page 150                                                                Page 152

        1      Q. -- that didn't happen?                                       least from his perspective, he feels like he's working
        2      A. I have no reason to think -- I -- yeah, I --              2 closely with you.
        3 imag -- maybe we met for lunch, totally independent, no           3         So, I mean, is it fair to say a vendor in that
        4 meeting. I -- I mean, there's any number of possibility           4 position is going to feel like the discussions are
        5 -- let's just say that I met with him.                            5 fairly extensive?
        6      Q. Okay. And I want to --                                    6         MS. HUGHES: Object to the form of the
        7      A. I just want to clarify that -- make sure that             7 question. Calls for speculation about what a vendor
        8 we --                                                             8 might think.
        9      Q. I understand --                                           9      A. I -- I don't know how to answer your question,
       10      A. -- clarify,                                              10 honestly. I -- I -- he, you know -- based on the
       11      Q. -- you don't remember the details of the                 11 emails --
       12 meeting.                                                         12      Q. (By Mr. Aveni) Yeah.
       13      A. No --                                                    13      A. -- he connected with us a lot.
       14      Q, Okay.                                                    14      Q. Yeah.
       15     A, -- I don't.                                               15      A. And we went back and forth. Here are the
       16      Q. I'm going to put it on Exhibit-82, it's the              16 things that we need to do, My emails generally are very
       17 tenth time you met with him. Okay.                               17 short. His are long and sometimes hard to read -- you
       18         In light of your testimony, I'm not going to             18 know, hard to read through and — and -- you know, so
       19 ask you the purpose of the meeting.                              19 the extra communication -- honestly, I think he
       20     A, Thank you.                                                20 over-communicated. That's my opinion. If you ask my
       21      Q. Okay. So, we've gone through -- I mean, so               21 opinion, he over-communicated in the emails,
       22 far we've got, you know, at least ten in-person                  22      Q. He communicated with you a lot?
       23 meetings. We've talked about .a variety of emails, As I          23      A. A lot. And in many eases it looks -- appears
       24 said, there's some we didn't -- certainly didn't talk            24 in emails, I -- I ignored everything in the content.
       25 about all of them, But there's a number of emails you            25 And I got -- I drilled down to what was necessary. And
                                                                Page 151                                                             Page 153

                                                                                                                39 (Pages 150 - 153)
                                                        Veritext Legal Solutions
                                                             866 299-5127
Case 1:15-cv-02118-WJM-SKC Document 89-7 Filed 03/30/18 USDC Colorado Page 20 of
                                      40


         1 I can go back as an example to, you know, some of                I Hailey's direct manager -- direct report manager.
         2 these -- I mean, this is just --                                 2     Q. Tin wondering if, in the way that Jerry
         3     Q. Yeah, And I understand what you're saying.                3 Mahabub writes, whether he's referring to Steve Jobs
         4 You're saying that --                                            4 here when he's referring to the "big man"?
         5     A. Yeah, he over-communicated.                               5        MS. HUGHES: Objection, Speculation.
         6     Q. -- he would have --                                       6     Q. (By Mr, Aveni) Do you know --
         7     A. I mean, I think that's what you're asking.                7        MS. HUGHES: Lack of foundation.
         g He's over-communicated in emails. That's what I want to          8     A.  I don't know,
         9 say.                                                             9     Q. (By   Mr, Aveni) When you read this, when you
        10     Q. Yeah. And I understand you're also -- you're             10 received it, did you have any understanding of who Jerry
        11 saying that he also had lengthy communications. I'm             11 was referring to when he said, "„, especially before a
        12 also talking about the number of communications, that           12 demo to the big man!"?
        13 there were just a lot of them.                                  13     A. I -- I don't know what he meant by that.
        14     A. There was a lot of them.                                 14 Look, you know, he — he used to say -- use terms like
        15         MR. AVENI: Okay. So, you can put that aside.            15 that. And, you know, if I — if I used them myself, it
        16         (Exhibit-107 marked for identification.)                16 was probably -- that's wink-wink -- that's who it is.
        17     Q. (By Mr. Aveni) Okay. The Bates stamp on this             17 But I don't know I don't think he's referring to
        18 document reflects that you produced that. Does that             18 Steve Jobs.
        19 look right to you?                                              19     Q. Okay.
        20     A. I'm -- yeah, I'm reading now that he's got               20     A. I don't know who he was referring to. When
        21 carets where he -- where I spoke -- or there's carets           21 I'm talking about the demo, I'm I'm thinking this.
        22 where I spoke, and then he answered apparently in               22 If he says that, I, you know -- if he's labeled my
        23 between paragraphs. So, let me -- let me read through           23 meeting with somebody that way, I -- I just didn't
        24 to see what --                                                  24 correct him on it, "Who do you mean?" I just didn't do
        25     Q. Sure.                                                    25 that. Now, when was this? 2009?
                                                                Page 154                                                       Page 156

                 A. -- where he's going.                                    1     Q, So, you don't know one way or the other who
         2       Q, Just so you know, I'm -- you're welcome,                2 he's referring to?
         3 obviously, to read through it. I'm just going to ask             3     A, I have no idea. I don't know --
         4 you about the last paragraph.                                    4     Q. Okay.
         5       A. Okay. I just want to get the context.                   5     A. -- in this case,
         6       Q. That's fine.                                            6     Q. Do you recall ever talking to Jerry Mahabub
         7       A. I'm reading what I said, and everything else            7 about that comment after he made it?
         8 is -- I mean, this has obviously become a lengthy --             8     A. No, I -- I don't remember,
         9 another one,                                                     9     Q. Okay.
        10       Q. Yeah, I don't intend to ask you about the              10     A. First of all, I don't remember,
        11 entire document. But you're welcome to read it.                 11         MR. AVENI: That's fine,
        12       A. Yeah, Okay.                                            12         (Exhibit-108 marked for identification.)
        13       Q. Okay. So looking at that last paragraph on             13     Q. (By Mr. Aveni) Okay, This is another email
        14 Page 2, Jerry writes -- Jerry Mahabub writes, "Let me           14 with a Bates Label, reflecting that you produced it. Is
        15 know if you know anyone directly I can speak with at            15 there any reason to think that's inaccurate?
        16 Apple to help us solve this nasty issue once and for all        16     A. I -- I was reading, I'm sorry, what was it?
        17 .,. that would be great ... especially before a demo to         17     Q. I'm sorry. I said that the Bates number on
        18 the big man!"                                                   18 the right-hand corner reflects that this is a document
        19          Do you see that?                                       19 that you produced. Is there any reason to think that
        20       A. Yeah.                                                  20 that's incorrect?
        21       Q. Who do you understand, "demo to the big man"           21     A. No.
        22 to be?                                                          22      Q. Okay. If you look at the last paragraph of
        23       A. Well, it looks like a puzzle. I -- I would             23 this email -- now we're at November 13, 2009 -- Jerry
        24 assume, since our demos were -- I only had one demo,            24 Mahabub writes to you: "So now you/Apple have three
        25 which was to -- to Greg Joswiak, which is Michael               25 devices, all of which are completely up to date, and
                                                               Page 155                                                        Page 157

                                                                                                              40 (Pages 154 - 157)
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Case 1:15-cv-02118-WJM-SKC Document 89-7 Filed 03/30/18 USDC Colorado Page 21 of
                                      40


         1 Bates Stamp No. 951, he tells you there that he's hired             1     A. I mean, is there an email that backs up what
         2 an IP valuation specialist --                                       2 — that I respond to this?
         3      A. Yes.                                                        3      Q. I have not seen an email response from you.
         4      Q. -- to provide evaluations of the AstoundSound               4      A. I -- I -- there were probably a few emails
         5 so that GenAudio and Apple can be ready to sign a deal.             5 that I missed. I mean, we miss -- 1 mean, my -- my
         6 Do you see that?                                                    6 phone right now says I got a hundred messages. Some of
         7      A, Yes.                                                        7 them arc saved. Some of them --
         8      Q. That last one, that's my words; not a quote.                8      Q, I will represent that I have not seen a
         9         When you read this, did you view this as Jerry              9 response from you to Jerry --
        10 Mahabub writing as if he believes a deal over                      10      A. Yeah --
        11 AstoundSound with Apple is imminent?                               11      Q. -- Mahabub --
        12         I mean, he's talking at getting a valuation                12      A, -- and the fact that --
        13 company, that he's now hired, at least talking about               13      Q. Go ahead. Do you recall ever calling him on
        14 getting -- you know, looking at IP rights.                         14 the phone in response to this and saying, "Jerry, we're
        15         Did you view that as Jerry's thinking -- he                15 not talking about a deal yet" or anything like that?
        16 might be off-base in your mind -- but he's thinking that           16      A, I don't remember.
        17 a deal with Apple is something that should start taking            17      Q. Okay.
        18 shape?                                                             18      A. I don't recall anything.
        19      A. I don't know to whose benefit that was. I                  19      Q. So you see on the bottom of Page 951, where he
        20  don't even know if I read this. I used to have -- you             20 says he's now hired an IP valuation specialist. Were
        21  know,  if I saw this, I — it was -- to me, I'd look at            21 you aware that he'd done that? Do you remember that?
        22 this and say this is another lengthy thing. What is --             22      A, No.
        23 it's just -- it's -- it's just --                                  23      Q. Do you recall ever telling Jerry Mahabub,
        24      Q. I mean, it's incredibly lengthy, right, and                24 "Don't hire an IP specialist. li's too expensive. It's
        25 very detailed; is that fair?                                       25 too early to do that" -- anything like that?
                                                                   Page 162                                                            Page 164

         1      A. Oh, yeah.                                                   I      A. No.
         2     Q. I mean --                                                    2      Q. If you look at where -- were looking now at
         3      A. So -- so, to me, this is more sales stuff, you              3 the bottom of 951, and then going on to 952. 1 mean,
         4 know.                                                               4 Mr. Mahabub here is talking about the price that Apple
         5     Q, I mean, is there any reason that you think he                5 might pay GenAudio when a deal is done for AstoundSound.
         6 didn't believe this; that he didn't --                              6         And all the way through this email, Jerry is
         7         MS. HUGHES: Objection --                                    7 pitching to you the value of a deal for Apple, right?
         8     Q. (By Mr. Aveni) believe a transaction with                    8      A. I don't think I read the email.
         9 Apple was --                                                        9      Q, Hut is that the way you read it, when you look
        10     A. I don't know --                                             10 through it now?
        11     Q, -- going to be inked soon?                                  11      A. I -- I --1 mean, at a glance, it looks like a
        12     A, I -- I didn't even -- it didn't even dawn on                12 sales job to me. 1 mean, like so many -- we could write
        13 me -- if I read this. But even reading it now, it's                13 a.-- I mean, I can go back to previous emails where he's
        14 just -- it's just --                                               14 constantly driving towards that end.
        15     Q. Well, reading it now, do you have that sense?               15      Q. Right.
        16      A. Well, I mean, it just goes on. It goes on                  16      A. And I just turned a blind eye to it.
        17 every tangent you can imagine. I mean, who's he writing            17      Q. 1 think you said part of your frustration with
        18 it for?                                                            18 Mr, Mahabub, if I can call it that, was that he was
        19     Q. Well, it's written to you and to Michael                    19 always trying to negotiate with you; right?
        20 Hailey.                                                            20         MS. HUGHES: Objection.
        21      A. I -- I understand. But I -- it didn't -- this              21      A, He never --
        22 was like so many of the other emails, I mean, it --                22         MS. HUGHES: It misstates the prior testimony.
        23 it -- you know, I -- I don't even know if I responded to           23 The word "negotiate" has never came out of his mouth.
        24 it.                                                                24         MR. AVENI: I didn't -- no, 1 didn't say
        25      Q. Did you ever --                                            25 whether it has one way or the other. I'm raising -- he
                                                                 Page 163                                                                 Page 165

                                                                                                                     42 (Pages 162 - 165)
                                                          Veritext Legal Solutions
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Case 1:15-cv-02118-WJM-SKC Document 89-7 Filed 03/30/18 USDC Colorado Page 22 of
                                      40


        I can — that's a speaking objection. Okay. I'm not                 1   could turn the clock -- probably bash him over the head
        2 misstating anybody's testimony. I'm not para -- I'm not          2 for this, for -- for constantly doing this, But I
        3 quoting what the witness said, one way or the other. He          3 didn't think anything of it at the time. It was a guy
        4 can explain his testimony. So, you can raise your                4 who over-communicated in his emails, peppering it with
        5 objection.                                                       5 all kinds of what-ifs. And I was just focused on --
        6        MR. ELTRINGHAM: I object. He never said he's              6 could you bring me a new sample with this stuff on.
        7 negotiating anything. And the word ''negotiation" has            7      Q. Okay. And I understand that --
        8 not come up ever between the two.                                8      A. It's as simple --
        9        MR. AVENI: Okay. Well, I used that phrase.                9      Q. -- you're not --
       10        MR. ELTRINGHAM: Okay.                                    10      A, — as that,
       11        MR. AVENI: And again --                                  11      Q. I know you're not focused on it. But you did
       12        MR. ELTRINGHAM: That's fine.                             12 say, right, that you were frustrated that he was always
       13        MR. AVENI: -- these are speaking objections.             13 acting as a salesman?
       14 Again, I mean, I'm not trying to put words in anybody's         14         I think that was the word you used,
       15 mouth. But he said he was frustrated with Jerry                 15 "salesman,"
       16 constantly doing this.                                          16      A. I -'- I did use the word "salesman," I don't
       17     Q. (By Mr. Aveni) My question for you is: Were              17 know if I used the word "frustrated" --
       18 you frustrated that Mr. Mahabub was constantly trying to        18      Q, That's my word,
       19 negotiate with you?                                             19      A, -- until just until just now. Okay.
       20     A. He never negotiated with me. I never -- this             20      Q. People are complaining about my word choice.
       21 is the first time that I can recall reading this --             21 I want to be clear, I think your word was "salesman."
       22     Q. Reading this email --                                    22 Mine was --
       23     A. -- this email.                                           23      A. I --
       24     Q. But, I mean, you were saying before that you             24      Q. -- "frustrated." But you were saying he
       25 were frustrated --                                              25 was --
                                                              Page 166                                                            Page 168

               A, Oh.                                                      1      A. I said "salesman,"
         2     Q. — because he's always trying to sell you.                2      Q. -- always acting as a --
         3     A. Well, that's — that's --                                 3      A. Yeah, I mean, I -- I mean, it was -- I think
         4     Q. And people are taking --                                 4 between Michael Hailey and I -- and I don't know if he
         5     A, Well, no. He --                                          5 would disag Michael Hailey would disagree with me on
         6     Q. I mean, that was --                                      6 this. But it was, you know, Jerry being Jerry. I --
         7     A. I was frustrated with his — his lengthy                  7 I -- and what we meant by that was not necessarily --
         8 emails, that went off on bird walks. You know, he --            8 hmm -- necessarily unkind.
         9 he'd go -- I mean, there's an email back here, that we          9          But he -- he was enthusiastic. That's a word
        10 didn't touch upon, that he's -- he over-communicated           10 that came up today. He's very enthusiastic. He's
        11 things that he shouldn't be communicating. I never             11 enthusiastic about his company. He's enthusiastic about
        12 called him on it.                                              12 his software, And that's the way I read the emails.
        13         For example, "I just left Disney Studios.              13 He's enthusiastic.
        14 And, by the way, that's a -- something Steve Jobs owns         14          He wants -- he wants to -- "What is it going
        15 and" -- and, you know, it just kind of -- dropping names       15 to take for you guys to really like my software and
        16 and and all this other stuff that had nothing to do            16 really shoot this to the moon?" I don't know if he used
        17 with it. And I just kind of ignored it.                        17 those words, But, you know, I there isn't anything
        18     Q. Okay. Fair enough,                                      18 to this.
        19     A. Okay.                                                   19       Q. I guess, this email, though -- I want to know
        20     Q. I guess, you did say that you were frustrated           20 if you would agree that this email goes a little bit
        21 because he was always being a salesman, right? I think         21 beyond that, from Jerry's perspective.
        22 that was one of the words that you did use.                    22          In terms of the email from Jerry, he's talking
        23     A. Well --                                                 23 now about things like price and, you know, IP rights
        24     Q. And --                                                  24 and, you know, structure. And not that you're engaging
        25     A It's an email -- you know, obviously if we               25 in it with him on those things, but those are the things
                                                               Page 167                                                             Page 169

                                                                                                                43 (Pages 166 - 169)
                                                       Veritext Legal Solutions
                                                            866 299-5127
Case 1:15-cv-02118-WJM-SKC Document 89-7 Filed 03/30/18 USDC Colorado Page 23 of
                                      40


        1 that he's talking about; right?                                              Do you see that?
        2         He's raising price issues with you, he's                  2      A. Mm-hmm. Stating his opinion.
        3 raising IP rights with you; isn't that right?                     3      Q. Okay. Do you agree that that's an accurate
        4          MS. HUGHES: Object to the form of the                    4 statement of --
        5 question.                                                         5      A. No, I don't agree with any of it.
        6      A. I haven't even -- I have to read this in                  6       Q. You don't agree with that?
        7 detail, to find out what it says there, And, obviously,           7      A. No. I'm sure along the way I told him many,
        8 we haven't had quite the time to digest --                        8 many times, "Look, this is" -- you know, he's -- I read
        9      Q. (By Mr. Aveni) Sure.                                      9 this as a sale -- you know, if I read something like
       10      A. -- the thesis --                                         10 this -- because we've read things like this, okay.
       11      Q. Right.                                                   11       Q. Yeah,
       12      A. -- that you got here. I -- it just seems                 12      A. If I were to have read this -- 'cause I -- I
       13 like — unless you have an email that tracks this                 13 really don't know if I actually read his email, as I
       14 back -- that says I answered him on this, then maybe I           14 said before. But we've read other things that are like
       15 could refresh how I worded it or whatever. But I just            15 it -- in here. He's trying to tell me in these
       16 don't have anything on it. And it might have been a              16 comments -- like this, that -- "We're ready to go. It
       17 holiday, As a matter of fact, it was a holiday --                17 won't take much for you guys to just push it over the
       18 12/22 -- Thanksgiving. Probably didn't read it,                  18 top."
       19          And then Michael Bailey didn't -- and so I              19       Q. You read this as a sale --
       20 would have thought if he had written all this and if he          20      A. I read -- oh, yeah, totally. And a lengthy
       21 had been concerned about it, he would have written me            21 one, I mean -- and it goes into all things that have
       22 back or called me and said, "Hey, did you read my email?         22 nothing to do with us. Reverse. Go to play. Stat. As
       23 I sent you a thing with all this kind of stuff."                 23 if we had -- as if we had any control over the guys on
       24         Did I blow him off, did I -- I -- I don't                24 the Mac side -- any control over the guy -- over the
       25 know. I — you know, that -- we -- we weren't -- there            25 guys in marketing, any control over the guys in our --
                                                              Page 170                                                             Page 172

           1 wasn't anything to this, And I -- you know, I just                in our iPod division. Heck, we're just trying to get
          2 don't know.                                                     2 this thing into the concept.
           3      Q. Sure. And I understand that you don't recall           3      Q. So, he's trying to negotiate with you. You're
           4 ever responding back. And I understand your testimony          4 just not negotiating back,
           5 that you may never even have read this email. I'm              5      A. Yeah.
           6 really trying to focus on what -- you know, where was          6      Q. Is that fair?
           7 Mr. Mahabub's head, as best as you could tell, and --          7      A. That's -- yes, that is a fair statement.
                     MS. HUGHES: Objection, Calls for                       8      Q. If you look at the middle of that same page --
           9 speculation,                                                          A. What was that? I had left it -- 950?
        10           MR. AVENI: I haven't asked a question yet.            10      Q. 953.
        11           MS. HUGHES: You're not asking questions.              11      A. 953.
        12 You're just making argumentative statements on the              12      Q. Almost smack dab in the middle of the page
        13 record,                                                         13 there, it says, "On the iPod/iPhone side „," Do you
        14           MR. AVENI: I haven't even finished my                 14 see that?
        15 statement, Leslie. Come on. I didn't do that during             15      A. Mm-hmm.
        16 your deposition. I'm not arguing with the witness. I            16      Q. He says -- this is Jerry Mahabub still
        1. 7 am trying to ask questions. And I think I've been doing       17 writing ",.. the stereo expansion implementation of
        18 that.                                                           18 AstoundSound is ready to be completed/integrated,
        19        Q, (By Mr. Aveni) Would you take a look at               19 however, the OpenAL/Gaming implementation still needs to
        20 Page 953, the paragraph at the top. About halfway --            20 be worked on ..."
        21 about two-thirds of that paragraph -- do you see that he        21         Do you see that?
        22 says, ",„ as both Vic and I have worked very hard to            22      A. Yeah, I see it.
        23 get the technology into a state that is for the most            23      Q. Did you agree with that statement?
        24 part ready to integrate with minimal code/dev efforts           24         MS. HUGHES: Are you speaking about now, or
        25                                                                 25 are you speaking about at the time when Mr. Mahabub
                                                                Page 171                                                            Page 173

                                                                                                               44 (Pages 170 - 173)
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Case 1:15-cv-02118-WJM-SKC Document 89-7 Filed 03/30/18 USDC Colorado Page 24 of
                                      40


         1 wrote this letter?                                              1      A. I mean, it was evident that -- hey, look, if
         2      Q. (By Mr. Aveni) Is that an accurate statement?           2 you're bringing in software -- Apple tends to license
         3      A, He thinks that that's the case. I never                 3 things if they like it. And -- and that -- you know,
         4 agreed to that. And -- and we had a demo. There is no           4 that's the only assumption you can make walking in. I
         5 way -- I want to reiterate, there is no way this stuff          5 don't handle the business side of it. There's a whole
         6 flies through just on his say-so. It has to go through          6 team from legal, business, maybe the software teams,
         7 an entire process. Different engineering team works on          7 that come in and listen -- to see how it's going. But,
         8 it. The -- the -- they qualify it, run it through               8 I mean -- no, I -- I probably would be out of the loop.
         9 quality control. You know, this is just his                     9      Q, And Jerry just didn't seem to understand that,
        10 assumptions, so --                                             10 though, right?
        11      Q. Right.                                                 11      A. He's just trying to figure out what -- how
        12      A. That's just assumptions on his part. He's              12 the -- what the inner workings were and who -- who -- I
        13 putting a sales job on.                                        13 mean, based on this, he was just trying to figure out --
        14      Q, But you don't recall responding to him on that         14 "What do I have to do, and who do I have to talk to" --
        15 and said, "Hey, look, Jerry, that's not accurate to            15 based on what I read here.
        16 where we are" or anything like that?                           16      Q. Okay. If you look at Page 947 --
        17      A. I think there's a good chance I didn't read            17      A. Mm-hmm.
        18 this, And I don't think I responded to it.                     18      Q. -- Michael Hailey did respond --
        19      Q. Okay.                                                  19      A. Yep
        20      A. And if I read it, I still didn't respond to            20      Q. -- to this email, And he said that -- the
        21 it.                                                            21 last sentence of this main paragraph -- "the business
        22      Q. Okay. if you look at Page 949, the first full          22 side of things would come into play after we have exec
        23 paragraph there -- near the bottom — it says: "Just            23 buy-in on the product side," Do you see that?
        24 waiting for the green light from the two of you to move        24      A. Yes,
        25 to the next level, and who I talk to about the business        25      Q. And then the next page -- I'm sorry -- the
                                                               Page 174                                                        Page 176

         1 side (perhaps it's both of you?)"                       1 first page of this email, about the middle of Page 1 --
         2         Do you see that?                                2 so it's Bates Label 946 -- Jerry Mahabub writes: "If
         3     A. I mean -- let me see. I'm sorry, where are       3 you have any idea as to when the exec buy-in might take
         4 you looking at?                                         4 place, that would help me out," Do you see that?
         5      Q. Here, you can see it on my page. I've got it    5          And then he has some discussions of
         6 highlighted. Is that helpful?                           6 specific --
         7     A. Yes. So, we would be handling the business       7      A. I -- I -- where --
         8 side anyway.                                            8          MR. ELTRINGHAM: It's about the middle of the
         9      Q. Right. Did you ever tell Jerry that, though,    9 page.
        10 in response to this email?                             l0          MR. AVENI: Yeah, right here.
        11     A. No.                                             11          THE WITNESS: Okay,
        12      Q. Did you ever say, "Jerry, I'm the wrong guy to 12      Q. (By Mr. Aveni) Do you see that?
        13 talk to?"                                              13      A. Yeah.
        14     A,  I don't think  it ever came up.                14      Q. Did you respond to Jerry's question -- Jerry
        15      Q. Well, he raised it here.                       15 Mahabub's    question about that, as to when the exec
        16     A. But -- okay. He raised it here, but I don't     16 buy-in might take place?
        17 think I -- I mean -- if you have an email and I        17      A. Do you have an email to back it up? I don't
        18 responded to it, I responded to it.                    18 remember,
        19      Q. Okay.                                          19      Q. Okay. And do you know if Michael Hailey or
        20      A. I'll agree to that.                            20 anybody else at Apple responded to that?
        21      Q. Do you remember any other time telling him, 21         A. I don't know.
        22 "Jerry, I'm not the right guy to talk to about that?"  22      Q. And what I'm asking you -- I'm not trying to
        23 Anything like that?                                    23 trick you. I'm really asking whether you remember --
        24      A. I -- I don't remember.                         24      A. I don't remember, no. This is 2009.
        25      Q. Okay.                                          25          MR. AVENI: Okay. You can put that email
                                                               Page 175                                                        Page 177

                                                                                                             45 (Pages 174 - 177)
                                                       Veritext Legal Solutions
                                                            866 299-5127
Case 1:15-cv-02118-WJM-SKC Document 89-7 Filed 03/30/18 USDC Colorado Page 25 of
                                      40


        1 aside,                                                          I      Q. Arc you saying that --
        2         (Exhibit-110 marked for identification.)                2      A. It's an internal meeting only. It was three
        3      Q. (By Mr. Aveni) Okay. This has another Bates             3 of us, It was Michael Hailey, myself, and Michael
        4 label that reflects that you produced that,                     4 Hailey's boss Greg -- Joz. And -- and that was it. And
        5      A. Uh-huh.                                                 5 it turned out to be Michael Hailey's last day at Apple.
        6      Q. Is there any reason that is not the case?               6      Q. And are you saying that meeting was the time
        7      A. No.                                                     7 when exec buy-in would be determined?
        8      Q. Is there any reason to think that you didn't            8      A, Yeah. And the buy-in might have been soft.
        9 produce this?                                                   9 It might have been like, yes, let's race to get this
       10      A. No.                                                    10 done. We don't know. It's -- we're springing the idea
       11      Q. Okay.                                                  11 for the first time -- for the first time. This guy
       12      A. I'm sorry. There is -- it's -- if 1 send it            12 doesn't know anything about it. For the first time.
       13 to you, it's good.                                             13         Michael Hailey worked hard. He put together a
       14      Q. Okay. So, this is an email that's dated                14 presentation — you know, slide stack -- story to go
       15 February 3, 2010. So, a couple of months after the one         15 with it -- why we want to do it, why we think this kind
       16 that we just looked at.                                        16 of product -- it didn't have to be GenAudio. This kind
       17      A, All right.                                             17 of product or this idea would benefit iPod or iPhone.
       18      Q. And if you look in the middle of that email,           18      Q. Okay. Do you recall whether you responded to
       19 Jerry Mahabub is asking you: "Any news on what is going        19 Jerry's email in Exhibit-I 10?
       20 on with AstoundSound and exec buy-in?"                         20      A. I don't remember whether or not.
       21         So if you remember the email we just looked            21         MR. AVENI: Okay.
       22 at, he and Michael Hailey were exchanging emails about         22         (Exhibit-111 marked for identification,)
       23 when an exec buy-in might take place. And now he's             23      Q, (By Mr. Aveni) Okay. This is another APL
       24 asking you, "Any news on what is going on with                 24 marked -- Bates-labeled document.
       25 AstoundSound and exec buy-in?"                                 25      A, Okay.
                                                              Page 178                                                           Page 180

                  Do you see that?                                         1       Q. Is there any reason to think that you didn't
        2      A. Yes, 1 see that.                                         2 get the email?
        3      Q. So after that email we just looked at --                 3       A. I probably got it. I -- you know, I'm reading
        4 Exhibit-109 -- did Jerry seem very focused to you on             4 this stuff and that -- we must have met with him or
        5 exec buy-in as a final milestone that needed to be               5 something at some point. I'm reading here.
        6 reached?                                                         6       Q. Yep. So, let's look at the second page -- the
        7      A. I believe that that's what he's driving at.              7 middle of the second page. It's an email dated
        8 He knew that I had to have a demo and that eventually            8 February 12, 2010. And Jerry Mahabub wrote, "Hi Miehae.
        9 this would -- this would, you know, culminate to that.           9 and Vic, Great to see you both yesterday again ..." Do
       10 I mean —                                                        10 you see. that?
       1t      Q. And --                                                  11       A. Yes, I'm reading it,
       12      A. -- all the demos and the songs and preparing            12       Q. Okay. So, he wrote that on February 12th, So
        3 the right song list and -- and -- and that would have           13 does that reflect a meeting on February 11, 2010?
       14 been with Michael Hailey's manager,                             14       A. I --
       15      Q. Did you have any understanding what Jerry               15       Q. Is there any reason to think that's not the
       16 Mahabub believed that exec buy-in timeline might look           16 case?
       17 like, when that might happen?                                   17       A. It could be. Your guess is as good as mine.
       18      A. I don't know what we told him then, I do know           18 I'll take your word for this at this point.
       19 that at some point in the emails is -- pretty -- pretty         19       Q. Is there any reason to think that that email
       20 vivid on this one -- is that we told him we had a               20 is incorrect, that there wasn't a meeting in person on
       21 demo -- it was the demo with Michael Hailey's manager -- 21 February 11th?
       22 that, you know, you're -- he wanted to invite himself to        22       A. Right, When did he write it so it would
       23 the meeting, that he can -- that he can do the job.             23 have been the llth, right.
       24 He's done a lot of demos. And we said, no, it's not             24       Q. Okay.
       25 that kind of meeting.                                           25       A. Most likely.
                                                                 Page 179                                                          Page 181

                                                                                                              46 (Pages 178 - 181)
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Case 1:15-cv-02118-WJM-SKC Document 89-7 Filed 03/30/18 USDC Colorado Page 26 of
                                      40



         1         MS. VOORHEES: Yeah, understood.                          1       A, He handed me an iPhone -- or excuse me -- an
         2         MR. AVENI: But, I mean, there's one or two.              2 i-touch, with the software that he created on his own
         3         MR. HOLMES: This is 114?                                 3 app as a third-party app developer. And working -- it
         4         MR. AVENI: Yes.                                          4 was his units, with his software, that he put on
         5      Q. (By Mr. Aveni) So, Exhibit-114 is a letter               5 there -- that he let me use. So, I did no coding.
         6 dated March 15, 2010.                                            6          I suggested we put these kind of features on
         7      A. Mm-limm.                                                 7 it -- these buttons -- I need you to adjust this, adjust
         8      Q. So, we're in the time frame of the documents             8 that, and but this other — the the previous
         9 we've been looking at. It's a letter from Jerry Mahabub          9 email and then tied with this -- this is all a Mac
        10 to GenAudio shareholders, Have you seen this document           I0 OS team Ron Isaac and his -- he works with.
        11 before?                                                         11       Q. So, I'm just talking about the second
        12      A. I have not seen this document. For -- that I            12 paragraph here.
        13 know of. I mean, it's not sent to me by mail. If I've           13       A. I understand.
        14 seen it, it's because it's in -- it was in the stuff            14       Q. But do you see this as focused on Mac?
        15 that was — that we were questioned about in the                 15       A. Well, because it says embedded level software,
        16 deposition the original. But is this a new one?                 16 I'm not -- we're not writing software. We never asked
        17      Q. What's that?                                            17 him for any software. We weren't writing it there.
        18      A. Has this ever been presented?                           18 Maybe I'm misreading this. But, you know, it says --
        19      Q. I think you did look at it in your earlier              19 "... we had over 15 meetings with marketing and
        20 testimony.                                                      20 technical management, and will start the actual embedded
        21      A. Okay. That's what I mean. This didn't                   21 level integration process within the next 30 days."
        22 come -- I didn't get anything like this.                        22          We aren't doing any of that, They were doing
        23      Q. Okay. No, no, I realize --                              23 that in the Mac OS, if they were even doing it. Now, as
        24      A. Okay.                                                   24 I remember -- and this is some — you'd have to ask the
        25      Q. -- that you didn't get it --                            25 other witnesses, okay, if if you haven't already
                                                                Page 194                                                       Page 196

          1     A. Okay. I just --                                          1 asked them.
          2     Q. in 2010.                                                 2       Q. Okay.
          3     A. Okay.                                                    3      A. My understanding is that -- is that they have
          4      Q. Okay. I want you to take a look at the second           4 a special build — operating system that allows
          5 paragraph of this letter.                                       5 developers a little bit more access to the code, a
          6     A. I'm looking at that                                      6 little bit more direct connection to the code.
          7     Q. Okay. Just go ahead and take a second to read            7          I'll just keep it -- as I remember okay --
          8 that, if you could. Just that paragraph is all you need         8 so that people like GenAudio can get in there and do
          9 to read.                                                        9 more realistic testing, that wouldn't be available to
         10     A. Yeah. Okay.                                             10 people outside of the company working as developers --
         II     Q. Okay. Given your understanding, your                    11 just creating whatever kind of app.
         12 knowledge, of the discussions with Apple — and if we           12          Because this is at system level. Audio is
         13 assume the LCEC referenced here is Apple is that               13 very intertwined with a lot of things that are going on
         14 paragraph fair?                                                14 in the system, so they have to give those guys a little
         15         MS. HUGHES: Object to the form of the                  15 bit more ac -- but they're not going -- they're not
         16 question.                                                      16 going to let them get into the main code.
         17     A. Well --                                                 17          So they've got this test harness, this thing
         18     Q. (By Mr. Aveni) Do you understand that                   18 that they can go in there and -- and -- a mule — that
         19 paragraph to be accurate?                                      19 they can go in and play with. So, that's them. Again,
         20     A. Well, I -- I reading it so I'd say it's                 20 we didn't do any embedded level stuff at all, period.
         21 accurate, if I read it. But this embedding the software        21       Q. Okay.
         22 into the Mac OS X is working with Ron Isaac. That's            22       A. Zero, zilch, nada. That's just -- we got a
         23 none of my business. I didn't get that deep into Ron           23 demo unit from him.
         24 Isaac's business. We didn't share like that.                   24       Q. Do you have any reason to think that Jerry --
         25 . Q: Okay:                                                     25          So, Jerry seemed to think -- from his
                                                               Page 195                                                        Page 197

                                                                                                             50 (Pages 194 - 197)
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                                                             866 299-5127
Case 1:15-cv-02118-WJM-SKC Document 89-7 Filed 03/30/18 USDC Colorado Page 27 of
                                      40




         1 emails -- that he was sending you the C library that we           1      Q. Okay.
         2 just talked about, which allow you to do an embedded              2      A. It's -- I mean, I don't think — I — I mean,
         3 level integration. That's what the email says. Do you             3 I you know, I can think of opinions that you didn't
         4 have any reason to think that Jerry didn't believe that?          4 ask about. But it's just opinions that the document --
         5      A. I don't know what they were talking to Ron                5 that I've never read before, really.
         6 about.                                                            6          MR. AVENI: Okay, You can put that aside,
         7      Q. Okay.                                                     7      A. You know, under -- under -- where it says, "15
         8      A. Okay, We were looped in, Probably shouldn't               8 meetings" --
         9 have been looped in. Shouldn't -- we should've -- maybe           9      Q. (By Mr. Aveni) Yes.
        10 Michael and I should've said, "Hey, Jerry, kind of --            10      A. -- I don't -- I can't verify that.
        11 we're not in this. Thanks for keeping us in the loop,            11      Q. Okay. Well, let's talk about that. So, I've
        12 but please delete our names from the mail list."                 12 got a running list here, By my count -- at least, of
        13      Q. Okay. Is there anything --                               13 the ones we can confirm on Exhibit-82 -- we're at 11.
        14      A. It's -- yeah.                                            14 And we're just talking about ones that we can confirm
        15      Q. Is there anything else in this paragraph that            15 with --
        16 you disagree with, that you think isn't accurate?                16      A. Right.
        17      A. Well, its current offering is valued at $3 --            17      Q. -- emails.
        18 I don't know anything about this stuff.                          18      A. But he -- this is general. He may have met
        19      Q. No, no, fair enough. I mean, I'm not trying              19 with Ron Isaac separately and his team.
        20 to ask you to validate everything --                             20      Q. Right. So, is it possible it's --
        21      A. Well --                                                  21      A. I'm just referring to what I'm involved with.
        22      Q. -- in it. But is there anything that you                 22      Q. Okay. Let's just stick with the ones — let's
        23 disagree with?                                                   23 just stick, for a second, with meetings he had with you.
        24      A. Well, the whole — I don't I don't know                   24      A. Well --
        25 what it means. It doesn't have -- without -- this is             25      Q. Is it reasonably accurate?
                                                                 Page 198                                                           Page 200

         1 the first time I've read this -- or I've read it in               1     A. -- I gave you a number earlier of eight to
         2 the -- a previous testimony. So, we didn't know that              2 twelve, And I don't know that number to be accurate.
         3 there was another -- there's an undercurrent -- that              3     Q. Right.
         4 there was something going on at GenAudio. There's two             4     A. So --
         5 stories going on.                                                 5     Q. And well run through the ones we could
         6         The one I'm living -- and we're -- it's all               6 confirm with emails, And up to this date, we're at 1 I.
         7 business, And then he's got his own business. And he's            7     A. Okay.
         8 got -- for whatever reason, he's operating -- he's doing          8     Q. Do you think this number is reasonably
         9 something -- he's saying something -- he's selling his            9 accurate? I mean, there could be more, right? There
        10 team on whatever is going on — I don't know what,                10 could be other meetings that you guys had?
        11 That's not for me to decide. I can just tell you that            11         MS. HUGHES: Object to the form of the
        12 we don't do -- I didn't do any code.                             12 question.
        13      Q. Okay.                                                    13     A. I -- you know, I just can't ver -- validate
        14     A. Nobody on our team,                                       14 15. It could be 16.
        15      Q. Right. So, let's move past the --                        15     Q. (By Mr. Aveni) Okay. Fair enough. You just
        16      A. Okay.                                                    16 don't know one way or the other?
        17      Q. -- embedded level integration. I think we've             17     A. I just don't know,
        18 talked about that quite a bit,                                   18     Q. Okay.
        19     A. Mm-hmm.                                                   19     A. But you -- you're asking, you know, is there
        20      Q. Is there anything else, looking at this, that            20 anything that we can quibble about. And that's — and
        21 you find inaccurate?                                             21 then I don't know anything about 30 days. I mean,
        22     A. Well, it's -- I mean, I'd have to sit down and            22 what's it going to take -- that's meaningless to me.
        23 read everything line by line,                                    23         MR, AVENI: Okay. Thank you.
        24      Q. I'm just talking about the second paragraph.             24         THE WITNESS: Okay.
        25     A. Oh. No.                                                   25         MR. AVENI: Okay. So, the next exhibit we're
                                                                 Page 199                                                           Page 201

                                                                                                                51 (Pages 198 - 201)
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Case 1:15-cv-02118-WJM-SKC Document 89-7 Filed 03/30/18 USDC Colorado Page 28 of
                                      40

         I going to talk about is the Private Placement Memorandum          I version or is it the --
         2 (indicating Exhibit-2). This has been marked as a prior         2          MR. AVENI: The whole thing. I'm happy to
         3 exhibit. I don't have a copy that has the prior stamp.          3 hand that --
         4        MS. HUGHES: Is this the March 15, 2010?                  4          MR. ELTRINGHAM: Okay. No, that's fine. I
         5        MR. AVENI: Yeah.                                          5 just wanted to clarify.
         6        MS. HUGHES: I think we've marked it as                   6       Q, (By Mr. Avcni) Okay. So if you go to
         7 Deposition Exhibit --                                            7 Page 21 --
         8         MR. AVENI: -- 37?                                       8          MS. HUGHES: Does it have a different Bates
         9        MS. HUGHES: -- No. 2.                                    9 number on it?
       10         MR, AVENI: Oh, 2. You're right. I'm                     10          MR. AVENI: No. It's GA487 -- is the first
       I I sorry -- 2.                                                    11 page.
       12         MS. HUGHES: I mean, there may have been an              12          MS. HUGHES: But Page 21, you're --
       13 Investigative Exhibit-37, But I believe we marked it            13          MR. ELTRINGHAM: Yeah, which --
       14 as --                                                           14          MS. HUGHES: — using the numbers in the
       15         MR. AVENI: No, no, you're right. I'm sorry,             1 5 center?
       16 I was mixing things up.                                         16          MR. ELTRINGHAM: Bates number?
       17         MS. HUGHES: -- Exhibit-2.                               17          MR. AVENI: Oh, I'm sorry. I'm using the
       18         MR, AVENI; It's Exhibit-2, I just don't have            1 8 dockets in GA --
       19 a stamped copy.                                                 19          MR. HOLMES: 510,
       20         MS, HUGHES: And your Bates Stamp is GA00487?            20          MR, AVENI: -- 510, yes.
       21         MR. AVENI: Correct.                                     21       Q. (By Mr. Aveni) Okay, If you look at the
       22         MS, HUGHES: Right. Then, that's already been            22 third and fourth paragraph on that page, that letter we
       23 marked as Exhibit-2.                                            23 just read is of the same date and, I'll represent to
       24         MR. AVENI: Right. So --                                 24 you, was distributed to shareholders with Exhibit-2 that
       25         MS. HUGHES: I think we should refer to it as            25 you're looking at.
                                                               Page 202                                                           Page 204

        1 Deposition Exhibit-2.                                         I     A. Mm-hmm.
        2         MR. AVENI: 2. I agree. All I'm saying is,             2     Q. So, if you can just look at the third and
        3 maybe we should just swap this copy out at some point         3 fourth paragraphs.
        4 down the road with the actual stamped copy. I just            4     A. Pretty generous statements.
        5 wanted to make you aware. I know it's Exhibit-2, I'm          5     Q. Okay. So, I mean, if the LCEC is Apple, was
        6 going to refer to it as Exhibit-2. I just wanted us to        6 there anything in here that --
        7 be on the same page.                                          7     A. Well, it wasn't integrated, This little
        8         MS, HUGHES: Thank you.                                8 expander was an app that you could download and you
        9         MR. AVENI: Okay.                                      9 can -- with a trial. And after the trial period, you
       10         MR. HOLMES: Literally.                               10 can buy it. So, it's a third-party application. It
       II         MR. AVENI: Literally on the same page. Okay.         11 wasn't fully integrated.
       12     Q. (By Mr. Aveni) So, this is -- Pm handing you          12          When I think of fully integrated, I'm thinking
       13 what's been marked previously as Exhibit-2, now that         13 that -- the way I take it -- I guess it could be --
       14 we've established that. I've just given you the front        14 depend on how -- how a large LCE comp -- LCEC -- what
       15 part. I have the rest of it here, which is all the           15 were you saying -- LCEC company might call things. You
       16 back --                                                      16 know, there's a -- there might be some common terms
       17     A. Do you have this thing highlighted anywhere?          17 they'd like to call third party as -- versus their own.
       18 I mean, where do you want --                                 18          But, to me, that would be -- that Apple has
       19     Q. I'm going to point you to one paragraph.              19 taken it on. And they're actually shipping it as part
       20     A. Okay.                                                 20 of their product.
       21     Q. And, for convenience, I'm just giving you             21      Q. Where do you see that?
       22 that. I've got all the back-end attachments, if you          22      A. They don't. I'm just saying — well, it says,
       23 want it,                                                     23 "fully integrated" --      the LCE (sic) ... has now
       24         MR. ELTRINGHAM: Is the -- sorry. Just for            24 fully (sic) successfully integrated the AstoundSound
       25 clarity, is the original Exhibit-2 this shortened            2 5 Technology into several of the LCE's (sic) product to
                                                              Page 203                                                          Page 205

                                                                                                               52 (Pages 202 - 205)
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Case 1:15-cv-02118-WJM-SKC Document 89-7 Filed 03/30/18 USDC Colorado Page 29 of
                                      40


         1 demonstrate ..." -- so, he's using the word                     1 It's a -- it's a -- it's a small possibility, I guess.
         2 "demonstrate."                                                  2         MR. AVENI: Okay. You can put that aside,
         3     Q. Right,                                                   3         THE WITNESS; Okay.
         4     A, Okay. "Viability."                                       4         (Exhibit-115 marked for identification.)
         5     Q. Well, that's accurate, right?                            5      Q. (By Mr. Aveni) Okay. So, again, the Bates
         6     A. That part is accurate, if it's a                         6 stamp on this document reflects that you produced this
         7 demonstration.                                                  7 to the SEC, right?
         8     Q. Okay. So --                                              8      A. I -- I'm going to take your word for it.
         9     A. But --                                                   9      Q. Okay.
        10     Q. -- assuming he's talking about a demonstration          10      A. That's what it says there. It probably did.
        11 here --                                                        11      Q. Okay. So if you see at the bottom of Jerry
        12     A. Yeah, okay.                                             12 Mahabub's email to you, he says: "I am sure the
        13     Q. -- this is fair, right? These two paragraphs            13 executive will very much so enjoy hearing the attached
        14 are fair and accurate, right?                                  14 demo as well!!! Trying to line you up with as much fire
        15     A. Yeah, I guess.                                          15 power as possible so we get a green light to continue to
        16     Q. Okay. You can put that aside.                           16 move forward!"
        17         Is there anything else in those paragraphs             17         Do you see that?
        18 that you have a problem with, that's --                        18      A. Yes.
        19     A. I --                                                    19      Q. So, we talked about this meeting. First of
        20     Q. -- inaccurate?                                          20 all, who's the "executive"?
        21     A. -- I -- I could pick -- I don't know. Maybe I           21      A. I would say, Joz -- Greg Joswiak.
        22 read it accurately more in detail, But what -- what            22      Q. Okay. And Mr, Mahabub is using the term, "the
        23 should I be looking for? Do you have a specific                23 executive" here. Is that a term that you told him?
        24 question or area that you --                                   24         I mean, do you know where the term, "the
        25     Q. Well -- okay. So if you look at the bottom              25 executive" came from?
                                                               Page 206                                                             Page 208

        I paragraph, he says: "It is unclear what structure such           1     A. I -- I -- I -- I don't know, But it's not an
        2 access would take ..," But he said — so if there's a             2 unusual -- I'm -- I -- maybe he didn't know who it was,
        3 deal ever done with the LCEC, he says: "It is unclear            3 I don't know.
        4 what structure such access would take ..." But then he           4      Q. And I'll represent to you, we'll go through a
        5 sets out two possibilities -- if you read that,                  5 series of emails talking -- using that term, "the
        6         1 mean, those are the same two things he's               6 executive" or "the exec" --
        7 been saying to you throughout your discussions with him,         7     A. Yeah, I might have used it,
        8 right?                                                           8      Q. -- of Apple. Do you remember using that term
        9     A. It's -- yeah.                                             9 with him?
       10     Q. Yes?                                                     10     A, No, I don't remember. I'm just saying, I may
       11     A. Well, we never talked about acquisition.                 11 have used it to not disclose who I was talking to.
       12     Q. I understand.                                            12      Q. Okay. Okay. So, at this time -- April 18,
       13     A. So -- so, licensing arrangements -- automatic,           13 2010 -- you have an upcoming meeting with the person you
       14 I mean, right? And that doesn't even mean that somebody         14 refer to as the executive about AstoundSound?
       15 is going to pay for it.                                         15     A. I'd have to look at a timeline.
       16     Q. Sure.                                                    16      Q. I think we're going to see that the meeting
       17      A. They might have a different business model for          17 with Greg Joswiak was on May 6th.
       18 that, but maybe it's advertising or marketing efforts           18     A. May 6.
       19 that they give away the software.                               19      Q. During this time period, there seems to be a
       20     Q. But the way it's written here isn't                      20 series of emails where you talked about a big upcoming
       21 inaccurate, is it? It's accurate; is that fair?                 21 meeting,
       22     A. I'm going to say, yes, it's fine.                        22      A. That was it,
       23     Q. Okay.                                                    23      Q. Okay.
       24      A. But I, you know -- to add that there's an               24      A. 90 percent chance, that's probably the one,
       25 acquisition, they -- of course, it's not impossible.            25      Q. So Jerry Mahabub here says, "Trying to line
                                                               Page 207                                                           Page 209

                                                                                                                53 (Pages 206 - 209)
                                                       Veritext Legal Solutions
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Case 1:15-cv-02118-WJM-SKC Document 89-7 Filed 03/30/18 USDC Colorado Page 30 of
                                      40


        1 you up with as much fire power as possible so we get a            1 employee, right?
        2 green light to continue to move forward!"                         2      A. Yeah, he's been there forever.
        3         So, you guys talked about that meeting --                 3      Q. And he's not a mid-level engineer?
        4      A. Right.                                                    4      A. No.
        5      Q. -- with an executive, right?                              5         MR. AVENI: Okay.
        6      A. Did I disclose who it was? I may have not.                6         (Exhibit-116 marked for identification.)
        7 I -- you know, why -- it's -- I don't need to tell him            7         THE WITNESS: Built out the org chart. Okay.
        8 that, It turns out it's probably a good idea.                     8         Where did you get this?
        9      Q. And you said the meeting was with Greg                    9         MR. AVENI: So, I got this from a -- I think I
       10 Joswiak?                                                         10 got this from Fortune, as reflected on the bottom.
       11      A. Yeah.                                                    11         THE WITNESS: Oh, okay.
       12      Q. And I think you referred to him as Joz?                  12      Q. (By Mr. Aveni) I assume you've never seen
       13      A. Yeah.                                                    13 this org chart before?
       14      Q, Is that how you called him?                              14      A. Not in this particular.
       15      A, Yeah, between friends.                                   15      Q. Not in this form?
       16      Q. Joz?                                                     16      A. No.
       17      A. Yeah.                                                    17      Q. But my question to you is: This purports to
       18      Q. Was he known that way --                                 18 be an org chart around this time. Does it look accurate
       19      A. Yeah.                                                    19 to you generally?
       20      Q. — around the company?                                    20      A. Yeah, people come and gone. But let me -- let
       21      A. There was Woz, and there was Joz.                        21 me -- let me --
       22         MR. HOLMES: Different -niaks,                            22      Q. You can find Greg Joswiak in the lower
       23         THE WITNESS: Yeah, the ni -- that's correct.             23 left-hand quadrant.
       24         MR. ELTRINGHAM: Easier reference.                        24      A. Yeah.
       25      Q. (By Mr. Aveni) So, you referred to here as               25         MR. ELTRINGHAM: There we go.
                                                                Page 210                                                         Page 212

        1 the executive -- you're not sure if you told Jerry who            1     A. VP, iPhone Marketing. What's the date on it?
        2 the executive was, Is it possible Jerry thought the               2 Okay. 2011. II might have been changed over -- yeah,
        3 executive was Steve Jobs?                                         3 he might have dropped the iPod part of it,
        4     A. I --                                                       4     Q. (By Mr. Aveni) Right.
        5         MS. HUGHES: Objection.                                    5     A. Yeah, because it went -- the VP of iPad went
        6     A. That'd be a guess on my part.                              6 to somebody else.
        7     Q. (By Mr. Aveni) Okay. You don't know one way                7     Q. Is the reporting line that's reflected here
        8 or the other?                                                     8 for Greg Joswiak, is that accurate?
        9     A. No.                                                        9     A. Yeah, that's accurate,
       10     Q. So, who is Greg Joswiak -- at the time?                   10     Q. Okay.
       11     A. At the time he's vice president of iPod/iPhone            11     A. As of 8 of 2011.
       12 and -- that was probably it.                                     12     Q. Okay. Do you have any idea, around this time
       13     Q. In Marketing, right?                                      13 frame, how many employees Apple had worldwide? Just a
       14     A, in Marketing, yeah.                                       14 broad estimate's fine,
       15     Q. So, he's the VP of iPhone/iPod in Marketing'?             15        MR. ELTR1NGHAM: Which time?
       16     A. Yeah.                                                     16     A, At this time?
       17     Q. And he's a senior employee at Apple, right?               17     Q. (By Mr. Aveni) How about in May 2010?
       18     A. Right. But he's not — he didn't report to                 18     A. I -- I'm going to take a guess -- 50,000.
       19 Steve Jobs.                                                      19     Q. Wow. Okay.
       20     Q. Who did he report to?                                     20     A, I -- 1 — I'm not sure. When I started at the
       21     A. He reported to Phil Schiller, Senior VP Global            21 main -- at the main -- locally, I think we had like
       22 Worldwide Marketing -- or whatever intergalactic                 22 7,000 employees.
       23 marketing guru. I don't -- I don't know. He's been               23     Q. Okay.
       24 there a long time.                                               24     A. 8,000. Mostly engineers.
       25     Q. But, I mean, Greg Joswiak was a senior                    25     Q. And the individuals on the org chart are the
                                                              Page 211                                                            Page 213

                                                                                                               54 (Pages 210 - 213)
                                                        Veritext Legal Solutions
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Case 1:15-cv-02118-WJM-SKC Document 89-7 Filed 03/30/18 USDC Colorado Page 31 of
                                      40

        1 senior people?                                                      1 something different that shows me differently --
        2      A. Yeah, it doesn't get any higher than that.                  2      Q. Okay.
        3         MR, AVENI: Okay. Fair enough. Thank you.                    3       A. -- I'll take your word for it.
        4         MR. HOLMES: Can we take five minutes?                       4      Q. You don't have any other reason to think it
        5         MR. AVENI: Okay. Let's go off the record.                   5 was a different day, right?
        6         (Recess taken from 2:59 p.m. to 3:11 p.m.)                  6      A. No.
        7         MR. AVENI: We're back on the record. And                    7          MR. AVENI: Okay. Oops.
        8 let's mark this one,                                                8          MR. HOLMES: Glad it (indicating coffee cup)
        9         (Exhibit-117 marked for identification.)                    9 was empty.
       10      Q. (By Mr. Aveni) Okay. So, we've looked at a                 10          MR. AVENI: It was empty. We're good.
       11 couple of emails. I'll represent to you that there were            11          MS. HUGHES: Let's take it off the table then,
       12 a number of emails I'm just skipping some of them,                 12 if it's empty. Thank you.
       13 for time's sake, to talk about the executive meeting or            13          MR. AVENI: You're welcome.
       14 the big meeting. We've talked a bit about that,                    14      Q. (By Mr. Aveni) Okay. So, what happened at
       15      A. Mm-hmm.                                                    15 the meeting with Greg Joswiak?
       16      Q. I'm happy to show you more, if you need to see             16          Before we get to that, do you recall referring
       17 them. This email is dated -- Exhibit-117, it's dated               17 to it with Mr. Mahabub as the big meeting?
       18 May 5, 2010.                                                       18      A. I do not recall that.
       19      A. Mm-hmm, yes.                                               19      Q. Okay. But you thought it was a big meeting,
       20      Q. And you see Mr. Mahabub says, "Hi Vic, If you              20 right?
       21 would prefer, I can hop on a flight tomorrow night or              21      A. It was an important meeting. Would I have
       22 Thursday early morning and attend the presentation."               22 called it the big meeting? Maybe. I --
       23 And you can see the subject is, "Re: Thursday meeting."            23       Q. Okay.
       24         Do you recall the big meeting, that we've been             24       A. 1 --
       25 talking about, with Greg Joswiak occurring on May 6,               25       Q. We can go through it,
                                                              Page 214                                                           Page 216

        1 2010? Does that fit within your recollection?                       1     A. Yeah, I mean --
        2      A. That sounds about right. Without getting any                2         MR. AVENI: I was trying to save us time,
        3 other information in front of me, I don't --                        3 but --
        4      Q. And if you look at this email, Exhibit-117,                 4         (Exhibit-118 marked for identification)
        5 you see that Mr. Mahabub wrote it on May 5th. But he                5      Q. (By Mr. Aveni) Okay. Exhibit-118 again has a
        6 wrote it early in the morning. So I think when he says              6 Bates stamp reflecting that you produced this, right?
        7 Thursday night, he's still in his head -- this is just a            7      A. Mm-hmm.
        8 guess on my part.                                                   8      Q. Okay.
        9      A. Yeah.                                                       9      A. Yes.
       10      Q. I'm not trying to say this is the case, But                10      Q. Is that a yes? Okay.
       11 I'm thinking maybe it was still May 4th in his mind?               11         And then you see the bottom line of your email
       12      A. You know, out of all the emails you've asked               12 to Jerry Mahabub on that page, it says: "We were able
       13 me, there's very few that I remember. And I remember               13 to have our big meeting. More soon." Do you see that?
       14 getting this email and telling him it's not that kind of           14         "Before Michael left, we were able to have our
       15 meeting.                                                           15 big meeting."
       16      Q. Okay,                                                      16      A. Oh, okay. All right. So --
       17      A. So, I'm assuming there's a follow-on --                    17      Q. Okay. Does that refresh your recollection
       18      Q. No. I just wanted to make sure that we were                18 that you refer to it as a big meeting with Mr. Mahabub?
       19 in agreement that the meeting occurred on May 6th.                 19      A. Okay. I'll go with that,
       20      A. Yes.                                                       20      Q. Okay. You can put that aside. Now, what
       21      Q. Okay.                                                      21 happened at the big meeting?
       22      A, I -- you're going to show me in a minute,                  22         So, first of all, who was there? We know you
       23      Q. Well, no. I think I just wanted to know if                 23 were there. Greg Joswiak was there. Michael Hailey was
       24 you agree with that.                                               24 there. Was there anybody else?
       25      A. Yeah, for the time being, yes. Unless I sec                25      A. That's it.
                                                                  Page 213                                                          Page 217

                                                                                                                 55 (Pages 214 - 217)
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Case 1:15-cv-02118-WJM-SKC Document 89-7 Filed 03/30/18 USDC Colorado Page 32 of
                                      40

              Q. Okay. What happened at the meeting?                        1      Q. Are you saying there was no work on the iPod
        2     A. We gave a slide presentation. When I say                   2 and iPhone side after May 6?
        3 "slide presentation," it was probably on his computer --          3      A. I can't say 100 percent, but I believe at that
        4 laptop or desktop. We had the devices, we had some                4 point we were dead in the water.
        5 headphones, and we gave a demonstration -- meaning he --          5      Q. Did you ever tell that to Jerry Mahabub?
        6 A/B, the songs they liked, all scrolling back and forth           6      A. I -- oh, he knew.
        7 and --                                                            7       Q. How did he know that?
        8     Q. Did he respond that he liked the technology?               8      A. I think we called him up and said, "Hey,
        9     A. He -- he did respond. And he generally                     9 we" -- I think one of -- maybe that's what he -- before
       10 enjoyed the demonstration. But that's not the hat he's           10 Michael left, we were able to have our meeting -- "more
       11 wearing.                                                         11 soon," Now, what I probably did -- and I'd have to find
       12     Q. Okay. So, how did he respond?                             12 an email or something like that,
       13         The purpose of the meeting was to give a green           13          But it -- it really — the end result -- it
       14 light to keep going forward; is that fair?                       14 still ended in the same result, that we were not able to
       15     A. Well, yeah, that's what we had -- we had                  15 convince his boss at the time that that this was a
       16 hoped. But the -- you know, we could call it the green           16 viable option for -- let me give you the rundown, so
       17 light. We're -- we're giving a presentation. We're               17 maybe we'll just get that out of the way,
       18 springing this idea on him. You know, does this person           18       Q. Sure,
       19 make a quick decision, or does he take his time to make          19       A. The answer that we got was -- first of all,
       20 that decision.                                                   20 software. Is there going to be a royalty? There's
       21         So, we're springing a brand new idea. Greg               21 certainly going to be a licensing arrangement,
       22 didn't know anything about it. We just had to find some          22 regardless of whether or not somebody like Apple pays
       23 time to set aside with him, find a hole in his -- in his         23 for it or not. Two -- so Greg is thinking on his level,
       24 schedule. It's Michael's last day. And so that was --            24 how do I sell this upstream, how -- because nothing
       25         It ended up that we tried to schedule a                  25 happens with one guy.
                                                                Page 218                                                             Page 220

        1 meeting, And I think that we can only do it on the last           1          Usually, it isn't one person making the
        2 day. And that was also kind of a parting -- you know,             2 decision. It's a committee, At some point, it becomes
        3 farewell,                                                         3 a committee decision. And I don't know how many people
        4     Q. For Michael Halley?                                        4 are in that committee. I don't know who was involved in
        5     A. For Michael Hailey,                                        5 a committee. It's beyond my pay grade --
        6     Q. Now, you said, "We've used the phrase 'green               6      Q. Okay.
        7 light.'" Jerry Mahabub was talking to you about this              7      A. -- what happens behind closed doors. But
        8 meeting being a green light to keep moving forward,               8 they're trying to figure out -- does it expand the
        9 right?                                                            9 market, does a customer -- when does a customer get out
       10     A. Right.                                                    10 of it. And the other issue was -- that was discussed,
       11     Q, And so it seemed like the two of you were                 11 that's not thought of, is -- when you --
       12 treating it kind of as a make-or-break meeting; is that          12          When you have the whatever kind of audio
       13 fair to say?                                                     13 file on your car stereo or wherever, you can adjust the
       14     A. That's fair to say.                                       14 tone of the system by using the tone -- bass, treble,
       15     Q. Okay. Now after the meeting took place on                 15 whichever -- simple tone controls -- high/low.
       16 May 6th, you guys did keep moving forward on the                 16          What this software was doing is -- was
       17 project, right?                                                  17 remixing the audio. It's changing the presentation. We
       18      A. No.                                                      18 would have to go back to the labels and ask them for
       19     Q. You didn't keep moving forward?                           19 permission to do that, even with a bypass mode, because
       20      A. No,                                                      20 you're changing the -- the mix.
       21      Q. When you say no, what do you mean by that?               21       Q. Okay.
       22          I mean, there was work that was still done              22       A. So, you have royalty -- who's paying for it,
       23 with Jerry Mahabub for a lengthy period of time after            23 it's going to expand the market, and any legal issues
       24 May 6th, right?                                                  24 that might be -- might happen.
       25      A. It may have been with Ron Isaac,                         25       Q, So, I think you previously testified in your
                                                              Page 219                                                              Page 221

                                                                                                                 56 (Pages 218 - 221)
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Case 1:15-cv-02118-WJM-SKC Document 89-7 Filed 03/30/18 USDC Colorado Page 33 of
                                      40

       1 prior testimony -- not today. I think you hit on it              1 tomorrow, Is the the" -- I think you meant, "Is this
       2 today, but you previously testified that you needed              2 the latest and greatest prezo to date" -- by "prezo,"
       3 permission after this green light to keep spending               3 you mean presentation, right?
       4 time --                                                          4      A, Yeah.
       5      A. Well --                                                  5      Q. Okay. So you're telling him you have a
       6      Q. -- on this project?                                      6 meeting the next day, which would be July 1st, and
       7      A. Yeah, yes.                                               7 you're asking if the presentation here is up-to-date?
       8      Q. And you did spend time after May 6th on this             8      A. Slide stack,
       9 project, right?                                                  9      Q. Okay. So what was the meeting that you had on
      10      A. I -- I need proof to answer your question that          10 July 1st, do you remember?
      11 I did,                                                          11      A. It -- it might have been with a colleague.
      12      Q. Okay. We'll go through some of it.                      12 You know, the presentation was a slide stack of -- of
      13      A. I'm going to say -- I'm going to say that --            13 a -- graphics and --
      14 that I probably had to go back and tell -- and find             14      Q. So, you're --
      15 out -- let my -- let my boss know what happened at the          15      A. -- lots of --
      16 meeting, because I obviously -- I can't keep going,             16      Q. -- still spending lots of time on the project
      17 so --                                                           17 after May 6th, right?
      18      Q. Okay.                                                   18      A. Well, that's what it says here. But, you
      19      A. I -- I couldn't answer you. You know, as far            19 know, I don't know how much more technical time we span
      20 as I was concerned today, you're asking me a question,          20 on it.
      21 that was the drop-dead date --                                  21      Q. Okay, But you're spending time on it, is my
      22      Q. Okay.                                                   22 point.
      23      A. -- to get an --                                         23      A. Yeah. Let's look further down the road,
      24      Q. Well, let's go through some stuff. And we can           24 Maybe that's -- maybe I'm helping out Ron Isaac. I
      25 figure out if --                                                25 don't know.
                                                              Page 222                                                            Page 224

       1      A. But I helped the guys across the street.                 1      Q. You don't know?
       2      Q, Okay,                                                    2      A, I don't know,
       3      A. I had no other place to go with it.                      3      Q. Okay. Now, when you -- so after the meeting
       4      Q. Okay,                                                    4 with Greg --
       5      A. That I recall. Maybe you'll remind me.                   5      A. Joswiak, yeah.
       6         MR. AVENI: I only have one copy of this.                 6      Q. -- Joswiak -- I mean, 1 will represent to you
       7         MR. ELTRINGHAM: I can make copies real quick,            7 that we have not seen any email where you talked to him
       8 if you need.                                                     8 about the result of that meeting.
       9         MR. AVENI: You know, I'm just going to spend             9      A. Yeah, there wasn't any communication. It was
      10 a minute on it. If everybody's okay with that, I'll             10 him to Michael, Michael to me, as far as I --
      11 just show it to you.                                            11      Q, I'm sorry, who to Michael?
      12         Are you okay with that, or do you want --               12      A. Well, I -- I only got the verbal. Michael
      13         MS. HUGHES: What is it?                                 13 Hailey.
      14         MR. AVENI: It's SEC-TiscarenoV-E-0001187,               14      Q. Okay.
      15         MS. HUGHES: Does it have the date?                      15      A. Okay. Sony.
      16         MR. AVENI: 6/30/2010,                                   16      Q. Are you saying that Michael Hailey told Jeny
      17         MS. HUGHES: Would you mind making a copy?               17 the --
      18         MR, ELTRINGHAM: No.                                     18      A. Yeah.
      19         MR. AVENI: Let's go off the record,                     19      Q. -- results of the meeting?
      20         (Recess taken from 3:24 p.m. to 3:28 p.m.)              20      A. No, no. Told me,
      21         (Exhibit-119 marked for identification.)                21      Q. Yep.
      22         MR. AVENI: We're back on the record,                    22      A. And I probably told Jerry,
      23      Q. (By Mr, Aveni) So, Exhibit-1 19 -- so, the top          23      Q. Okay. So, you say you probably told Jerry?
      24 is an email from you to Jerry Mahabub dated June 30,            24      A. Yeah, probably, I don't know.
      25 2010. And you say, "Hi Jerry, I have a meeting                  25      Q. Do you know?
                                                             Page 223                                                            Page 225

                                                                                                              57 (Pages 222 - 225)
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Case 1:15-cv-02118-WJM-SKC Document 89-7 Filed 03/30/18 USDC Colorado Page 34 of
                                      40

        1       A. I don't know. I don't know.                            1           And we would get a more immersive, more
        2       Q. Do you recall ever sending him an email about          2   accurate sound field. And so he worked on that very
        3   the results of the meeting?                                   3   hard. We had this meeting, and I had -- I invited some
        4       A. I don't recall any of them.                            4   colleagues, some friends -- people that might be
        5       Q. So --                                                  5   interested in -- in the -- in the product.
        6       A. Yeah.                                                  6       Q. Okay, But you don't remember what you told
        7          MR. AVENI: Okay.                                       7   Jerry, if anything, about the Greg Joswiak meeting,
        8          MR. ELTRINGHAM: I think he may have said               8   right?
        9   earlier a phone -- it might have been a phone call.           9       A. I don't remember anything. 1 don't have
       10          MR. AVENI: Yeah. But he's saying he doesn't           10   anything to back it up with, the --
       11   remember.                                                    11           MR, AVENI: Okay. Let's mark that one as
       12       Q. (By Mr. Aveni) If you don't remember --               12   Exhibit-120.
       13       A. I don't remember. I mean, it could be any             13           (Exhibit-120 marked for identification.)
       14   number of things. I do know internally myself that           14       A. One of the things I want to mention to you --
       15   what -- what our meeting was all about -- we had a           15   if I may go back -- is that it's not always Apple policy
       16   follow-up meeting with -- that had nothing to do with        16   to talk about an internal discussion, tell them -- you
       17   this, And I don't know if this has to do with that —         17   know, the most that we would say is, "Hey, it's been
       18   is --                                                        18   great. Thank you very much."
       19          There was a meeting, where Jerry was still            19            But to say that the executive didn't -- the
       20   working with Ron Isaac across the way. And -- and I          20   executive didn't like it or any of their gut feelings
       21   made the -- made a statement or suggested to him that --     21   -- we just wouldn't probably say that.
       22   and this is for an iMac. So, you know what those look        22       Q. (By Mr. Aveni) Okay.
       23   like. They're flat screen -- speakers are on -- coming       23       A. Okay. We'd say, "Hey, it's -- you know,
       24   out -- blasting out the bottom -- stereo -- left             24   it's -- this is where we're going to have to stop. And
       25   channel, right channel -- reflect off the table.             25   thank you very much." And if they ask — you know, it
                                                              Page 226                                                           Page 228

        1          At the time -- adding that -- people were              1   just depends -- but generally try not to discuss
        2   starting to watch movie on their -- on their displays,        2   internal business with an -- outside vendors.
        3   you know. They were getting a lot better. Some people         3      Q. So, as far as you know, you didn't discuss --
        4   were using them as their TV. So, it was not out of the        4      A, I --
        5   question to have that be your -- the -- the stereo            5      Q. -- the meeting?
        6   system or the sound, you know, instead of having a sound      6      A. -- I don't know,
        7   bar that -- this would be -- a better sound could be          7       Q. Okay.
        8   made on the iMac.                                             8       A. I'm -- fin just -- all I'm saying is, is
        9          So I suggested, "Hey, Jerry, you know, you             9   that --
       10   can -- you know, you got the sound expander. It's hard       10       Q. That's a possibility?
       11   to control that sound just out of two speakers. You're       11      A. -- that may have -- that's a possibility, that
       12   trying to create a full surround -- 5.1 system with --       12   we -- but if you're asking what I did, which is what
       13   with just two speakers."                                     13   I've told you, is that I -- I knew that for us -- that
       14          He says it's -- and the voices walking all            14   was the end of the road for us.
       15   over -- you know, for the center channel -- is walking       15       Q, So, in your head, you knew that was the end of
       16   all over. You've got this phantom center. "It'd be           16   the road. You just don't know --
       17   better if you come up with -- can you come up with           17      A. I don't know if I expressed that --
       18   something that's a left channel, center channel, and         18       Q. -- what you communicated to Jerry, if
       19   right channel?"                                              19   anything?
       20          And so he worked on -- and he got this metal          20       A, Right.
       21   box. He got three little computer-type desktop speakers      21       Q. Okay.
       22   about the size of this cup -- coffee cup. And he             22       A. So, my — I continued to expose my friends to
       23   created an LCR -- left, center, right -- channel             23   the product in other departments. And that basically
       24   system that would take the expanded signal and run it        24   was probably the -- and that may have been what I
       25   through these --                                             25   said -- I mean, again, trying to reconstruct what
                                                              Page 227                                                           Page 229

                                                                                                              58 (Pages 226 - 229)
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Case 1:15-cv-02118-WJM-SKC Document 89-7 Filed 03/30/18 USDC Colorado Page 35 of
                                      40


                  MR. AVENI: Okay. Okay. Let's mark this one,              I side?
        2         (Exhibit-129 marked for identification.)                 2    A. Just the Mac side. But there's -- there's
        3      Q. (By Mr. Aveni) Okay. This is another email               3 people that would be interested in -- other audio groups
        4 chain from September 2010. And you produced this                 4 or marketing or whatever, Again, trying to raise
        5 document as well, right?                                         5 awareness, perhaps gain a little traction with --
        6      A. Yes,                                                     6 somebody -- somebody says, "Wow, I can use that."
        7      Q. Okay. If you look at the second page of this             7        Again, trying to sell it internally. You
        8 email -- its real short -- Mr. Mahabub writes: "I can            8 know, the fact that the people I tried to go to -- to
        9 really feel that 2011 will be a very transformational            9 see if we could raise awareness on it and get them --
       10 year for my company."                                           I0 you know, was kind of shut down there. Nowhere to go
       11         Did you understand Mr. Mahabub to mean by               1I there. But maybe in Ron's division, they like it.
       12 that, that he thought a deal with Apple would be                12    Q. Okay.
       13 consummated in 2011 -- would be a successful year for           13    A. And it was actually a little bit different
       14 GenAudio -- do you know?                                        14 software, so I could see where he might feel like
       15         MS. HUGHES: Object to the form of the                   15 there's still a chance,
       16 question. It calls for speculation.                             16        MR. AVENI: Okay. Lees mark this one.
       17      A. I don't know,                                           17        (Exhibit-130 marked for identification.)
       18      Q. (By Mr. Aveni) What did you understand him to           18    Q. (By Mr. Aveni) Okay. This is another
       19 mean there?                                                     19 document that you produced, right?
       20      A. Another sales promotional statement.                    20    A. Yeah, see everything is about the LCR.
       21      Q. Okay, Did it appear to you that Mr. Mahabub             21    Q. This is another document that you produced?
       22 believed that a possible deal with Apple was still very         22    A. Yes.
       23 much alive at this point?                                       23    Q. Okay. And so first -- so if you look at the
       24      A. If you're asking for my opinion on it, sure,            24 bottom of the first page, Mr. Mahabub is writing about
       25 why not. But I -- we had no definite -- definitive              25 meeting with you on September 16th. And then at the top
                                                               Page 250                                                            Page 252

        1 statements that were ever made on that.                          1 of that page, he says he's coming down to deliver an
        2      Q. Okay.                                                    2 iPad with the new app. Do you see that?
        3      A. It was just another sales pitch. I mean,                 3      A, Yes.
        4 there's lots of them.                                            4      Q. Okay, Did you meet with him on September
        5      Q. But, I mean, he still seemed to believe that             5 16th?
        6 things were still moving forward in a way that was               6      A. Uh --
        7 optimistic for him, right?                                       7      Q. As far as you know?
        8      A, Yes,                                                     8      A, As far as I know.
        9         MS, HUGHES: Object to the form of the                    9         MR. AVENI: Okay. I'm going to reflect that
       10 question.                                                       10 on Exhibit-82, Okay.
       11      Q. (By Mr, Aveni) He was still optimistic, it              11      Q. (By Mr. Aveni) Now he's talking about an app
       12 seemed from what he was writing to you, that a deal             12 on the iPad. Does that reflect any work that's been
       13 could still be reached?                                         13 done on the iPad side, on this date?
       14      A. Well, we -- to answer your question, yes, I             14      A, I'll take an assumption that that's true,
       15 think so.                                                       15      Q. Okay. So, you think yes?
       16      Q. Okay.                                                   16      A. Yes.
       17      A. We had run through the one process with the             17      Q• Okay.
       18 i -- with the i-touch. We had that meeting. 1 started           18      A. Now, what I think we discussed on that is that
       19 a relationship, by introduction to Ron Isaac's team,            19 the app was not necessarily for demonstration; but it
       20 And that's basically the focus of -- of this. I --              20 was a working tool, Let me explain the difference.
       21 mean, I don't think there's any more -- any more work on        21      Q. Okay.
       22 what I had originally intended.                                 22      A. When we started off our conversation earlier
       23      Q. Was the meeting that you were arranging with            23 this morning, we talked about an arcane user interface.
       24 Andrew Bright and Barry Corlett, did that relate to the         24 You had to key in all -- a numerical key to move the
       25 iPod/iPad side of Apple as well or was it just the Mac          25 volume up or down. If you wanted to go up in volume,
                                                               Page 251                                                         Page 253

                                                                                                               64 (Pages 250 - 253)
                                                       Veritext Legal Solutions
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Case 1:15-cv-02118-WJM-SKC Document 89-7 Filed 03/30/18 USDC Colorado Page 36 of
                                      40

       1 you go from 5 to 10. And that's the way the original               1      Q. (By Mr. Aveni) And this is another document
       2 app was, that GenAudio developed.                                  2 that you produced, right?
       3          I -- I suggested to GenAudio that they create             3      A. Mm-hmm, yes.
       4 a -- a tool set, meaning a user interface that got rid             4      Q. Okay, And you wrote this -- I'm sorry --
       5 of all that stuff, and use a graphical interface -- one            5 Mr. Mahabub wrote this email the day after the meeting
       6 that literally moved -- whether it's a slide bar                   6 with Andrew Bright and Barry Corlett?
       7 and with a graphical representation. And -- and they               7      A, Yes.
       8 did. And that might be what that is.                               8      Q. Okay. If you go to the bottom of Page 2,
       9      Q. Okay. So why were you doing that work around               9 there's a paragraph that starts, "Lastly ..." Do you
      10 this time frame, September 2010?                                  10 see that?
      11      A. It was a suggestion to GenAudio that they                 11      A. Yes,
      12 would gain huge benefit for all teams -- whether it was           12      Q. Okay. I'm just going to read a bit of that;
      13 at Apple or even outside -- that he should work on this           13 not the whole thing. It says: "Lastly, we will need to
      14 because it makes it easier to sell the product.                   14 either go under a more serious development agreement for
      15      Q. Okay,                                                     15 us to give Apple our real deployment level SDK (not the
      16      A. To us, or to anybody else, Because you                    16 test level SDK you have already received),
      17 could -- you can dynamically and graphically adjust the           17         "Given that Barry stated it would be easier
      18 volume --                                                         18 for us to give our SDK to Apple so Apple could then
      19      Q. I --                                                      19 integrate and point to the iTunes Music library, as
      20      A. -- or adjust adjust -- so, it was -- it was               20 opposed to Apple giving us an API to do this on our end
      21 just a suggestion to him. He did it. And that's -- and            21 (which would actually have been the easiest pathway), I
      22 he maybe wanted to show it to me.                                 22 will put together an SDK license agreement for Apple to
      23      Q. And just --                                               23 review and sign as the current NDA between our companie
      24      A. I mean, I -- I'd forgotten exactly all --                 24 is not strong enough to cover both sides of the fence'
      25      Q. Just to be clear, you're -- and I may have                25         Do you see that?
                                                                Page 254                                                      Page 256

        1 missed this. You're not sure, one way or the other, as            1     A, Yes.
        2 to what this email -- whether this email relates to what          2     Q, So, do you recall a discussion about a heavier
        3 you just explained, right?                                        3 NDA in this time period?
        4      A. I'm not 100 percent sure, but it sounds like              4     A. No. But I'm reading it.
        5 it,                                                               5     Q. Okay. Do you recall what the -- if there was
        6     Q. Okay.                                                      6 any further discussion about another NDA after this
        7     A. Because it says, "new app." And I know we've               7 email?
        8 asked him about that before. So, I'm kind of jumping              8     A. No, I don't know.
        9 into it with that one.                                            9     Q. Now, I think you previously testified the
       10     Q. Okay, Now, the bottom of Page 2, you're                   10 meeting with Andrew Bright did not go great because
       11 writing to Jerry Mahabub. And you say, "1 have                   11 there was a disagreement that occurred during the
       12 tentatively set up a meeting for Thursday, September             12 meeting; is that —
       13 23rd." Do you see that?                                          13     A, That's correct.
       14     A. Okay.                                                     14     Q. -- fair?
       15     Q. And that's the meeting with Andrew Bright and             15     A, That's correct.
       16 Barry Corlett, right?                                            16     Q. Okay. Thank you.
       17     A. Okay.                                                     17     A. Sorry.
       18      Q. Is that right?                                           18     Q. But after that meeting you still kept working
       19      A. Probably.                                                19 with Jerry on the project, right?
       20      Q. Okay. And that meeting took place, right?                20     A, I -- I'm not sure. I don't know -- I mean,
       21      A. Yes.                                                     21 we're going to -- I don't know what the follow-ups --
       22         MR. AVENI: Okay. So, I'm going to reflect                22 follow-up emails are.
       23 that on Exhibit-82 as well. Okay, You can put that               23     Q. You don't recall one way or the other?
       24 document away.                                                   24      A. No,
       25         (Exhibit-131 marked for identification,)                 25     Q. Okay.
                                                               Page 255                                                       Page 257

                                                                                                             65 (Pages 254 - 257)
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                                                             866 299-5127
Case 1:15-cv-02118-WJM-SKC Document 89-7 Filed 03/30/18 USDC Colorado Page 37 of
                                      40


         I      A. 1 think -- I think I -- I think I responded              1         (Exhibit-133 marked for identification.)
         2 to this general time because of all this. I mean, he             2     Q. (By Mr. Aveni) Okay. This is another
         3 was rather insulting on some of his -- suggesting books          3 document produced by you, right?
         4 that -- and trying to educate Mr. Andrew Bright on               4      A. (No response.)
         5 something that Andrew Bright knew very well --                   5     Q. This is another document that you produced as
         6 well-versed in it.                                               6 well, right?
         7      Q. But it appeared that Jerry Mahabub still                 7      A. Yes, according to this.
         8 thought that a deal could he reached, right?                     8     Q. Okay. So, at the top, Jerry Mahabub writes to
         9      A, I -- I -- I don't know what he was thinking.             9 you that they just finished filing some new patent
        10      Q. Okay. Is there any reason to think that he              10 applications. And he says: "... as a direct result, I
        11 didn't believe that?                                            11 can now update the iPad/iPod and Mac side apps with the
        12      A. I don't know what he's -- I don't know what he          12 new processing that solves many issues that we had with
        13 was thinking, I mean, you know.                                 13 the current implementations you have." And then he
        14      Q. You continued to act enthusiastic about the             14 talked about that a little further.
        15 possibility of the transaction with Apple, right?               15     A, Yes,
        16      A. I -- I don't remember that far back.                    16     Q. Does this reflect that there was additional
        17         MR. AVENI: Okay. You can put that aside.                17 work being done on the iPod and iPad side?
        18         (Exhibit-132 marked for identification)                 18     A, Yes.
        19      Q. (By Mr. Aveni) Okay. This is another                    19         MS. HUGHES: Object to the form of the
        20 document that you produced, right?                              20 question.
        21      A, Yes.                                                    21         When you say, "more work being done," are you
        22      Q. Okay, So, the bottom part of this email,                22 referring to work that Mr. Tiscareno is doing and Apple
        23 you're writing to Jerry Mahabub. And you say: "Thanks           23 is doing, or are you referring to work that GenAudio is
        24 for updating the software. By the way (sic), I                  24 doing?
        25 discovered a small bug in the iPod SW,"                         25         MR. AVENI: The i I'm referring to the
                                                                Page 258                                                      Page 260

                   Do you see that?                                         1 iPod/iPad side of the project, which is what I think
         2      A. Yes.                                                     2 we've generally been talking about. Whether it's being
         3      Q. And then the next page, Jerry is saying to               3 done --
         4 you: "We just wrapped up with debugging and have fixes           4         MS. HUGHES: Do you mean what is Apple doing
         5 for both iPad and iPod apps for 4.2." Do you see that?           5 on that side of the project?
         6     A. Yes,                                                      6         MR. AVENI: Either one. I think it's a I
         7      Q. Does this reflect that there was still some              7 think it was described as a collaboration. And so are
         8 more work being done on the iPad and iPod side?                  8 they working together to do additional work on the
         9     A. That's what it says here.                                 9 iPod/iPad side. That's what I mean by that.
        10      Q. Okay.                                                   10         MS. HUGHES: Mr, Tiscareno, have you
        11      A. Not sure what 1 was using it for, other than            11 understood that in these questions? When he's asked
        12 keeping it handy.                                               12 you, is more work being done on the iPad/iPod project,
        13      Q. Okay. Then, at the top, Mr. Mahabub writes to           13 that he's meaning is Apple working on it?
        14 you: "Hi Vic, 1 am heading your way in about 30                 14     A. If Igo back -- to answer your question, if I
        15 minutes!" Do you recall meeting with Mr. Mahabub on             15 go back three or four months in these emails, I don't
        16 December 1, 2010?                                               16 know what I was doing at that time with the iPad.
        17     A. 1 recall something about him -- one of his               17 There's a point where things had stopped on what I was
        18 guys having an issue that required med -- medical               18 trying to do.
        19 attention, but 1 don't know if it was. 12 -- December           19         Now, the fact that they are still being
        20 1st. I'll take it --                                            20 updated, it might be that we kept them there in case
        21      Q. Okay.                                                   21 somebody came in -- I could show them. We wanted to
        22     A. -- that that's what happened on that day, at             22 keep a fresh unit. But there was no -- I don't think
        23 that time, at that hour.                                        23 there was any further demonstration to any specific
        24         MR. AVENI; All right. I will reflect the                24 team.
        25 meeting on Exhibit-82, You can put that the aside.              25      Q. (By Mr. Aveni) But you were still interacting
                                                               Page 259                                                       Page 261

                                                                                                            66 (Pages 258 - 261)
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Case 1:15-cv-02118-WJM-SKC Document 89-7 Filed 03/30/18 USDC Colorado Page 38 of
                                      40


        1 with Mr. Mahabub with regard to the iPod/iPad side of                     A. Yes.
        2 the project?                                                       2      Q. Do you recall, does this reflect that you were
        3      A. Based on the emails, yes, he was updating the              3 making a -- showing a demo to somebody within Apple,
        4 the software. What we were doing with them after he was            4 around this time frame?
        5 updating them, that I couldn't tell you.                           5      A. That's what it says there.
        6      Q. But you were still looking at them, right?                 6      Q. Do you know who the demo was to there?
        7      A. Yeah. Was it putting them on my desk up on a               7      A. I don't know who it was to,
        8 cabinet? I couldn't answer your question, But,                     8      Q. Do you know whether the demo would have
        9 obviously, from this -- he's updating the hardware we              9 related to the Mac side or the iPod/iPad side?
       10 had kicking around the office.                                    10      A. I don't -- I don't have any idea.
       11      Q. As far as you can tell, he still thought there            11      Q. You can't tell?
       12 was work that --                                                  12      A. I can't tell.
       13      A. Well --                                                   13      Q. But you're still doing something connected to
       14      Q. -- was valuable for him to do on the project,             14 the project in this time frame; is that right?
       15 right?                                                            15      A. I'm going to say, according to this, yes.
       16      A. I don't know what he was thinking.                        16      Q. Okay. And then if you look at the second half
       17      Q. Fair enough. Okay. So then, in the middle of              17 of the email, Jerry Mahabub writes to you -- in the
       1.8 the page, he says: "I was hoping to have Apple products          18 paragraph that starts with, "Unfortunately not ..."
       19 with our tech inside by now perhaps with these                    19         After that, it says: "Just send me your iPad
       20 updates we will be working on for you, we can finally             20 when the demo is over to the following address ..." Do
       21 cross the bridge and ink an actual license deal,"                 21 you see that?
       22         Did you understand him to be saying he's                  22      A. Sure.
       23 hoping for an actual license deal in connection with              23      Q. So, does that mean that the demo relates to
       24 iPod and iPad, as well as the Mac side?                           24 the iPad?
       25      A. He said that almost on every single email, so             25      A. 1 don't know.
                                                                 Page 262                                                      Page 264

        1 I -- it -- it probably was lost on me -- making that                   Q. It seems that way, though, right?
        2 statement.                                                      2      A. It seems that way. Now, I only have another
        3     Q. But is it fair to say that he's --                       3 week or so at Apple. So what was I doing at that time,
        4     A. He's obviously trying.                                   4 that late? I -- I have -- I've forgotten.
        5     Q. -- be's trying to sell a deal and still thinks           5         MR. AVENI: Okay.
        6 there could be a deal on the iPod/iPad side, right?             6         (Exhibit-135 marked for identification.)
        7     A. It's what it says there, yeah.                           7      Q. (By Mr. Aveni) Okay. This is another email
        8          MR. AVENI: Okay.                                       8 you produced, right?
        9          MS. HUGHES: David, before you move on, just            9      A. Yes.
       10 where -- I guess, that's in the middle of the middle           10      Q. Okay. Now, this is as you're leaving Apple;
       II paragraph, is that where that is?                              11 is that right?
       12          MR. AVENI: Yes, right smack-dab in the middle         12      A. Yes.
       13 of the paragraph.                                              13      Q. And you left Apple the next day, right --
       14          MS. HUGHES: Thank you.                                14 February 2, 2011?
       15          MR. AVENI: Sure.                                      15      A. Yes.
       16          (Ms. Voorhees exits the room,)                        16      Q. Okay. So, you write here: "Hi Jerry, I'd
       17          (Exhibit-134 marked for identification.)              17 like to introduce you to my manager, Jesse Dorogusker,"
       18     Q. (By Mr. Aveni) Okay. And you produced this              18 And then a little further down you say: "Jesse is fully
       19 document as well, right?                                       19 aware and engaged with the project that you and I worked
       20     A, Hmm. Yeah,                                              20 on for so long together using your GenAudio DSP software
       21     Q. Okay, Now, at the top of this document, you             21 and team,"
       22 write: ''The demo has been switched to Monday. What            22          Do you recall that?
       23 should I do? I'm still tweaking my demo with the unit I        23      A. Yes.
       24 have here."                                                    24      Q. Okay. So you told Jerry, Mr. Dorogusker was
       25          This is dated January 26, 2011, right?                25 fully aware and engaged in the project?
                                                                Page 263                                                       Page 265

                                                                                                              67 (Pages 262 - 265)
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Case 1:15-cv-02118-WJM-SKC Document 89-7 Filed 03/30/18 USDC Colorado Page 39 of
                                      40

       I      A. Right. He gave me authorization to work on                I      A. Well, I probably spent a lot of time writing
       2 this.                                                             2 emails. It wasn't that much time, honestly.
       3      Q. Okay.                                                     3      Q. But, I mean, it was a significant investment,
       4      A. He didn't physically work on it. He didn't --             4 right?
       5 he didn't get involved, but my boss knew I was working            5      A. My investment was -- was the emails in --
       6 on it and expending energy on it.                                 6 discussion on what to do next and — and -- and
       7      Q. And you're telling Jerry Mahabub that he's now            7 generate, you know, work with a slide deck with Michael
       8 taking it over, and he's fully aware and engaged in               8 Hailey -- meet on that -- yeah. But when I work on a
       9 connection with it, right?                                        9 project -- we're talking about intensive, intensive
      10      A. He knows that -- what the project is about --            10 work. You know -- slide-the-pizza-under-the-door kind
      11      Q. Yep.                                                     11 of stuff,
      12      A. -- what he's been doing, and that I'm leaving            12      Q. Okay.
      13 the product with -- with my manager, which later on --           13      A. Day and night.
      14 chase him down, but --                                           14      Q. Ultimately, we've --
      15      Q. So, looking at this email, is it fair to say             15      A. So, this is not that.
      16 that Mr. Mahabub would have believed that Apple remaine          16      Q. Ultimately, we've seen a lot of emails about a
      17 interested in continued work on this project?                    17 lot of different meetings. Is it fair to say you showed
      18         MS. HUGHES: Object to the form of the                    18 GenAudio to a lot of Apple employees by the end of this
      19 question.                                                        19 time period, when you left Apple, right?
      20      A. I -- I don't know. It was -- you know, I -- I            20         MS. HUGHES: Object to the form of the
      21 left. And I don't know what they did after 1 left.               21 question.
      22      Q. (By Mr. Aveni) Okay,                                     22      A. He was introduced --
      23      A. He's with Ron Isaac, you know, He's still                23      Q. (By Mr. Aveni) I was referring --
      24 engaged over there, you know. He had introductions, He           24      A. He was introduced to a significant number of
      25 had lots of email addresses and --                               25 Apple employees during the course -- and -- and your
                                                               Page 266                                                      Page 268

       1      Q. Was your intent, in writing this, to say,                 I question is?
       2 "Jesse Dorogusker is taking over. Don't won-y. He's               2      Q. I just wanted to ask whether it's fair to say
       3 got the hall, and he's going to run with it"? Is that             3 that you demonstrated GenAudio's technology to a lot of
       4 effectively what you're tying to say?                             4 Apple employees while you were at Apple?
       5      A, I -- I think -- I mean, the way -- I know when            5      A. Yes. And the email list kind of proves that
       6 I wrote it, most likely -- "Hey, I left the three units           6 out.
       7 that are owned by GenAudio with my boss," That's what I           7      Q. Okay. Now, in your previous testimony, during
       8 was saying. "And I'm leaving."                                    8 the SEC investigation portion of the case, you mentioned
       9      Q. Okay.                                                     9 that the GenAudio software was loaded onto two different
      10      A. I mean, there wasn't anything -- it may have             10 kinds of devices -- an iPad and an iPod touch is that
      11 left a little bit -- a little range in there, but that           11 right?
      12 was -- you know, I was not writing a poison pen. He              12      A. That's correct.
      13 may -- I was just saying, "Hey, been nice working with           13      Q. And you said it was loaded on there while the
      14 you."                                                            14 testing and the development was ongoing. And you
      15      Q. So, we've gone through a lot of emails.                  15 mentioned that those devices belong to GenAudio rather
      16      A. Yes.                                                     16 than Apple?
      17      Q. We've talked about, I think, a decent number             17      A. That's correct.
      18 of meetings. You've already testified again about the            18      Q. Is there some significance, in your mind, as
      19 number of phone calls you have and so forth,                     19 to who owned the devices? Does it matter who owns it?
      20         Is it fair to say that, ultimately, there were           20      A. We didn't supply him with the software. We --
      21 fairly extensive discussions with GenAudio in connection         21 I didn't have permission to cede devices to GenAudio.
      22 with this project?                                               22 Sometimes we do that. We'll -- we'll cede a -- you
      23      A. Yes.                                                     23 know, give equipment -- with a little contract that cede
      24      Q. And you invested a considerable amount of time           24 the business.
      25 into it, right?                                                  25         And we didn't have that kind of
                                                              Page 267                                                       Page 269

                                                                                                            68 (Pages 266 - 269)
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Case 1:15-cv-02118-WJM-SKC Document 89-7 Filed 03/30/18 USDC Colorado Page 40 of
                                      40


                                                                               1             CERTIFICATE
                    MR. HOLMES: Do you agree?
                                                                               2 STATE OF WASHINGTON )
         2          MS. HUGHES: I do agree.                                                     ) ss.
         3          MR. AVENI: Okay. We're off the record.                     3 COUNTY OF KING )
                                                                               4
         4          (Deposition concluded at 6:46 p.m.)                        5        I, the undersigned Washington Certified Court
         5          (Signature reserved.)                                        Reporter, hereby certify that the foregoing deposition
                                                                               6 upon oral examination of VICTOR TISCARENO was taken
         6                                                                       stenographically before me on December 16, 2016, and
         7                                                                     7 transcribed under my direction;
                                                                               8        That the witness was duly sworn by me pursuant
         8                                                                       to RCW 5,28.010 to testify truthfully; that the
         9                                                                     9 transcript of the deposition is a full, true, and
                                                                                 correct transcript to the best of my ability; that I am
        10                                                                    10 neither attorney for nor a relative or employee of any
        11                                                                       of the parties to the action or any attorney or counsel
                                                                              11 employed by the parties hereto nor financially
        12                                                                       interested in its outcome.
        13                                                                    12
                                                                                        I further certify that in accordance with
        14                                                                    13 Washington Court Rule 30(c), the witness is given the
        15                                                                       opportunity to examine, read, and sign the deposition
                                                                              14 within thirty days upon its completion and submission
        16                                                                       unless waiver of signature was indicated in the record.
        17                                                                    15
                                                                                        IN WITNESS WHEREOF, I have hereunto set my
        18                                                                    16 hand this 27th day of December, 2016.
        19                                                                    17
                                                                              18
        20                                                                    19
        21                                                                    20
                                                                                        Washington Certified Court Reporter No. 3337
        22                                                                    21        License expires June 4, 2017.
        23                                                                    22
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        24
                                                                              24
        25                                                                    25
                                                                   Page 346                                                                Page 348

                       SIGNATURE
         2
         3
         4
         5            I declare under penalty of perjury
         6 under the laws of the State of Washington that I have
         7 read my within deposition and the same is true and
         8 accurate, save and except for changes and/or
         9 corrections, if any, as indicated by me on the CHANGE
        10 SHEET page hereof,
        11            Signed in
        12 Washington, on the           day of
        13 2016.
        14
        15
        16
        17
        18                  VICTOR TISCARENO
                            TAKEN: December 16, 2016
        19
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        23
        24
        25
                                                                   Page 347

                                                                                                                        88 (Pages 346 - 348)
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